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              Assessment of Xarelto Safety Based on the ROCKET AF Study Results

                                 Henry I. Bussey, Pharm.D., FCCP

                                           October 6, 2016

      My opinions are based upon a combination of materials, including those that have been
      provided to me by counsel, as well as materials that I have obtained during the course of
      my own literature search and review. The materials I have reviewed include clinical study
      reports and addenda, deposition testimony, internal company documents, other relevant
      papers and general pharmaceutical references, the product labeling for Xarelto, and where
      applicable, labeling for other drug reports. References to these documents are referenced
      within my report, as well as a listing attached as Appendix A.

      In addition, I rely upon my own education, background, training and research in the
      relevant fields of science and pharmacology. A copy of my curriculum vitae outlining my
      education, training and experience, as well as publications authored by me, is attached as
      Appendix B. My hourly fee schedule is attached as Appendix C and my list of previous
      testimony is attached as Appendix D.

      All of the opinions contained in this report are made within a reasonable degree of
      pharmacologic and scientific certainty. In formulating the opinions stated herein, I have
      employed the same analysis and level of scientific rigor that I apply in my daily clinical
      work and in drafting my publications. I reserve the right to supplement my opinions as new
      information becomes available.

                                      Summary of Opinions

         1. Because of the issues and limitations outlined above, the ROCKET AF trial does
            not provide a fair comparison of the safety (and efficacy) of rivaroxaban vs.
            warfarin for patients and clinicians who are located in the U.S. and other geographic
            regions where at least “typical” anticoagulation can be provided.

         2. With “typical management” in the U.S., the rate of major bleeding was 50% higher
            with rivaroxaban than with warfarin, yet this difference is not discussed in the
            rivaroxaban package insert and a black box warning has not been required (as is the
            case for warfarin).

         3. Recent advances in anticoagulation management suggest that the safety and
            efficacy of warfarin therapy can be improved substantially beyond what was
            reported in the ROCKET AF trial.

         4. The available data indicate that monitoring rivaroxaban levels with the PT can be
            used to reduce the risk of bleeding.

         5. The lack of a safe and effective antidote for rivaroxaban remains a concern.
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         6. The rivaroxaban package insert and promotional materials (including television
            advertisements) fail to adequately warn patients or clinicians in the U.S. of the
            bleeding risk of this drug and the study limitations.

                             Relevant Background and Perspective
      Components of the Blood Clotting System:

      The clotting cascade consists of several proteins or clotting “factors.” When one clotting
      factor becomes activated, it causes a series of “down-stream” activations of other factors
      that increase in a “snowball” effect until Factor X is activated to Factor Xa which, in turn,
      activates Factor II to Factor IIa, (also known as thrombin). Thrombin results in the
      conversion of fibrinogen to fibrin which, in turn, creates a net of protein strands that form
      the structural basis of a blood clot. Importantly, thrombin also has several other
      conflicting actions which increase the clotting activity while also “turning off” the clotting
      process, and activating platelets and the body’s own clot-dissolving (“clot busting”)
      process.

      Platelets are blood cells which are activated by thrombin and a variety of other
      substances. When activated, platelets clump together to help form a blood clot and they
      also release substances that activate the clotting cascade.

      Types of Anticoagulants:

      Indirect acting: Heparin, several low molecular weight heparins (LMWH), and
      fondaparinux are injectable anticoagulants that bind with and activate a substance in the
      body called anti-thrombin (AT) which, in turn, can bind with and inactivate several
      different factors in the clotting cascade. These drugs effectively “turn off” the clotting
      cascade and can prevent it from becoming active. Heparin, which is still widely used
      today, was first discovered in 1916 and came into clinical use in the 1930s.

      Vitamin K antagonists (VKA): Chemically, these drugs are referred to as coumarins and
      they exert their effect by blocking the ability of the liver to make the functional forms of
      several clotting factors including thrombin and factor X. The VKAs are effective at
      keeping the clotting cascade from becoming activated, but they do not work well at
      “turning off” the clotting cascade once it is activated. Consequently, coumarins work to
      prevent blood clots but they are not used as initial treatment of a new clot. Warfarin (brand
      names Coumadin and Jantoven) is the most widely used VKA but several others are
      available and at least one new VKA, ticarfarin, is in clinical development. Coumarins were
      first identified in spoiled clover, and warfarin became available for clinical use in the 1950s
      (and was used in 1955 to treat Dwight Eisenhower after he had a heart attack).

      Direct acting anticoagulants (DACs): These drugs combine directly with one or more
      clotting factor to inhibit or interrupt the clotting cascade. Because these agents inhibit
      activated clotting factors, they are similar to heparin except that they do not rely on AT to

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      exert their inhibitory effect (as does heparin, and related drugs). Several injectable DACs
      have been available for some time and are primarily used in the acute care setting to treat
      heart attacks or to provide anticoagulation during invasive procedures such as angioplasty
      or stent placement. In 2010, the first oral DAC (DOAC) – dabigatran (brand name,
      Pradaxa) – was approved for use in the U.S. Dabigatran inhibits thrombin while the other
      available DOACs (rivaroxaban/Xarelto, apixaban/Eliquis, and others) inhibit activated
      Factor Xa (which works to activate factor II to IIa or thrombin).

      Monitoring, Dose Adjustment, and Reversal:

      With all of the available anticoagulants, the goal is to give enough drug to achieve the
      desired anticoagulant effect but not to give too much and increase the risk of bleeding
      unnecessarily. If the right dose of an anticoagulant is used, these agents are remarkably
      effective in preventing blood clots and the risk of bleeding is low. An incorrect dose,
      however, can easily cause more harm than good.

      Early Anticoagulants (heparin and warfarin): The effect of heparin is measured with the
      activated Partial Thromboplastin Time (aPTT). The aPTT is reported in seconds and
      measures how long it takes to form a clot after a specific reagent is added to the blood (or
      plasma). Interestingly, use of the aPTT is compromised by the fact that results vary
      depending on the sensitivity of the reagent that is used in a given lab and the result,
      therefore, may vary from one lab to another. With warfarin, the effect is measured by the
      Prothombin Time (PT) which, similar to the aPTT, is reported as the seconds required for a
      clot to form after a different reagent is added. Currently, the patient’s PT is divided by the
      laboratory’s “normal” PT to determine the Prothrombin Time Ratio (PTR). The PTR is
      then “corrected” for the sensitivity of the reagent used to determine the International
      Normalized Ratio (INR). The INR is the PTR that the laboratory would have obtained if
      the lab had been using the World Health Organization standard reagent. The INR for a
      given blood sample should be the same from lab to lab. There is no INR-type adjustment
      with the aPTT in monitoring heparin. Even though both of these medications have been in
      clinical use for more than 60 years, there is still on-going debate and clinical research as to
      how best to monitor these agents and what intensity of anticoagulation to achieve in
      selected subgroups of patients.

      Should bleeding develop or the need arise for an emergency surgical procedure, the
      anticoagulant effects of heparin and warfarin can be reversed by giving protamine for
      heparin or one of several agents for warfarin.

      Newer Indirect Acting Anticoagulants (various LMWHs and fondaparinux): These
      agents combine with AT to inactivate primarily Factor Xa and thrombin (as does heparin).
      Even so, because these agents inactivate Factor Xa more than Factor IIa (thrombin), their
      effect on the aPTT test does not demonstrate a pattern similar to that seen with heparin.
      Consequently, the aPTT is not a reliable monitoring test for these drugs. A measure of
      anti-Factor Xa activity can be useful; although anti-Factor Xa levels are not readily
      available in many labs and the anti-Factor Xa activity test has to be calibrated for the
      specific LMWH (or fondaparinux) being used. Protamine can partially, but not completely,
      reverse the activity of these agents. Initial claims were that the pharmacokinetics (PK) and
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      pharmacodynamics (PD) of these drugs were so predictable that monitoring would not be
      required as long as one adjusted the dose according to the patient’s renal function. Such
      “unmonitored” therapy may be acceptable for a “typical” patient, but anti-Factor Xa levels
      often are measured for dosage adjustment in patients who are unusually large or unusually
      small, have significant renal disease, are pregnant, and have other conditions in which the
      PK or PD may be altered.

      DACs/DOACs: Because injectable DACs are used in the acute care setting with
      monitoring, they will not be discussed. The DOACs – and specifically rivaroxaban
      (brand name Xarelto) will be addressed here. The available data indicate that each of
      available DOACs may affect the aPTT and the PT tests differently.[1] Consequently, what
      is true for rivaroxaban may not be true for the other DOACs. There is a linear relationship
      between rivaroxaban plasma concentrations and PT which may allow this test to be used
      for various purposes.[1-4] There are, however, some considerations that require that the
      PT test be used differently in patients on rivaroxaban or warfarin. The relationship between
      rivaroxaban levels and the PT varies with the PT reagent and laboratory device being used
      (as is the case with warfarin), but this variability is not corrected by the INR calculation.[3]
      Therefore, when using the PT to monitor rivaroxaban, one needs to use the PT in seconds
      or the PT ratio and know what values, in a particular laboratory using a particular reagent
      and device, correlate with various rivaroxaban plasma levels. Such a laboratory-specific
      correlation of PT vs. xarelto plasma level is exactly analogous to what is done now with
      heparin and the aPTT. In the data submitted to the FDA Advisory Committee Briefing on
      September 8, 2011 rivaroxaban plasma concentrations by quartile ranged from 37.6 mcg/L
      to 272.3 mcg/L (a seven fold difference) which corresponded to PTs of approximately 13 to
      23 seconds (see Xarelto Advisory Committee Briefing Doc UCM270797 Figures 7 and
      8).[4] The same documents and figures also showed that the incidence of ischemic stroke
      appeared to be flat across this range of PT values while the incidence of major bleeding
      more than doubled at the higher end. Such findings would suggest that the PT test may be
      used to identify those individuals who have high rivaroxaban levels and an elevated risk of
      major bleeding. Further, Lipi and colleagues examined the relationship between PTs
      performed with several different reagents and plasma rivaroxaban and identified reagent-
      specific low and high “cut points PTs” for each reagent.[1] Nakano and colleagues, who
      evaluated the PT at peak and trough rivaroxaban plasma levels, found that the PT at trough
      is comparable to baseline (untreated or “normal’) PT values.[2] But peak PT values were
      significantly elevated and those with a PT > 20 seconds had approximately a 3-fold
      bleeding rate.[2] It would appear, therefore, that the PT test, which is routinely available in
      hospitals, clinics and by point of care (POC) device, can be utilized to identify patients who
      may have rivaroxaban levels that are well within the desired range or higher than optimal
      for safety purposes. Because trough PTs overlap with normal PT values, and because the
      efficacy curve appears to be flat across the desired PT range, the PT test would not be
      useful to identify a minimally effective threshold PT value. In other words, the PT test can
      be useful to identify those who have clearly adequate rivaroxaban levels or higher than
      desired levels, but it is not useful to identify those who have inadequate levels. It would
      seem logical, therefore, to use the PT test with some degree of frequency to identify those
      individuals who have plasma levels that put them at unnecessarily high bleeding risk.



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      In addition to the above considerations, rivaroxaban plasma levels may be altered by
      several drug interactions, changes in renal function, food, and age. Taken together, the
      variables which may alter the response to rivaroxaban may not be as extensive as those
      seen with warfarin; but a more than two-fold increase in bleeding rates (which may be
      increased further by other factors) argue that monitoring is likely to improve the safety of
      this agent. Interestingly, both the FDA and the National Institutes of Health have
      addressed this issue. The FDA’s Center for Drug Evaluation and Research Summary
      Review of application number 202439Orig1s000 dated Nov. 4, 2011 pointed out that there
      appears to be a relationship between rivaroxaban levels and bleeding and that some
      monitoring may improve outcomes.[5] In August, 2016, the National Heart Lung and
      Blood Institute of the National Institutes of Health released its 10-year research agenda,
      “Charting the Future Together, The NHLBI Strategic Vision.”[6] In their proposed agenda,
      one priority is to study how laboratory monitoring and use of other technologies may
      influence the outcomes of patients with atrial fibrillation (AF) and deep vein thrombosis
      when treated with a DOAC or warfarin.[6] It would seem, therefore, that both the FDA
      and the NIH support the position that plasma monitoring and dose adjustments of DOACs
      are likely clinically important. At present, there is no antidote for rivaroxaban but one is in
      development. The cost, availability, and whether negating a direct inhibitor will result in
      thrombosis are all concerns about any DOAC antidote.

                   Warfarin vs. Rivaroxaban in Atrial Fibrillation (AF)

      Potential Efficacy, Safety and Efficiency of Warfarin Therapy:

      As depicted in Slide 1 in the attached slide set (and consistent with other studies), the dose
      of warfarin needs to be adjusted to keep the INR blood test within the target range 60% to
      70% of the time in order for warfarin to reduce the risk of stroke in AF compared to no
      treatment.[7] As the percent of time that the INR is within the target range (%TTR) falls
      below that value, benefit is lost and the rate of stroke increases as much as three-fold
      compared to no treatment at all. That is, poor warfarin management (defined as < 60%
      TTR) may increase (rather than decrease) the risk of stroke in AF. Slide 2, derived from
      data by Wan, et al.,[8] illustrates how excellent INR control (75% TTR) is projected to
      reduce the rate of blood clots and major bleeding by approximately 80% to average event
      rates of about 1% per year – or 10 per 1,000 patients per year.[8] Furthermore, because
      event rates increase exponentially when the INRs are at extreme values (Slide 3), avoiding
      such extreme values may improve safety and efficacy in addition to improving %TTR.[9]
      The percent of time at extreme values has been quite high in earlier studies.[10,11] But can
      such low event rates with warfarin be achieved in routine practice? Utilizing computerized
      support systems, investigators from Sweden [12], the United Kingdom 13], and The
      Netherlands [14] in just the last two years have reported bleeding rates that were
      comparable to the predicted rates and less than one-half of the rates reported with warfarin
      or rivaroxaban in the ROCKET AF trial (Table 1). [15] These results were achieved in
      well-organized clinics in which the average %TTR often was 70% or greater.




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      Table 1: Reported and projected events* with warfarin; events expressed as number of
      events per 1,000 patient-years.
            Source & number of patients                Maj. Bleed               ICH               Stroke
      Rocket (n = 7,125) [15]                             34.0                    7                19.6
      Projected (equations of Wan, et al at
      75% TTR)* [8]                                       11.0                   2.6                6.9
      Sweden (for 57% with TTR > 70%, n =
      22,185) [12]                                        16.1                   3.4                NR
      European Action on Anticoagulation
      (n = 5,939) [13]                                     8.6                   NR                 3.0
      The Netherlands (70 to > 90 yr olds and
      target INRs of 2 – 3.5 and 2.5 – 4.0)
      (n = 3,313) [14]                                   9 – 11                 3–5                 NR
      *Major bleeding and thromboembolism rates were calculated according to the equations developed
      by Wan, et al [8]. These rates were further divided into specific event rates based on the relative
      average distribution reported in the warfarin arms of ROCKET AF and the major AF trials with the
      other DOACs

      Achieving well-managed warfarin therapy requires frequent INR testing and dosage
      adjustment. Recently, several small studies have addressed this issue by combining
      frequent INR self-testing at home with online monitoring and management.[16 - 21] Each
      of these studies achieved a mean %TTR of 74% or greater, and for the three studies that
      reported %TTR at extreme values [17, 19, 20], the % of time at extreme values was less
      than 2% (vs. 15% to 20% in earlier trials).[10,11] In one year-long study that examined the
      %TTR for individual patients, every patient achieved and maintained a % TTR > 75%;
      even the quartile of patients who had a mean %TTR of less than 25% over the six months
      before entering the study.[20]

      Based on the data reviewed above, it would appear that achieving good INR control (>
      70% TTR) is readily achievable and is associated with a bleeding rate that is less than one-
      half of that reported with warfarin in the ROCKET AF trial (Table 1). In the ROCKET AF
      trial, rivaroxaban was compared to poorly managed warfarin. [15] The major bleeding rate
      reported for the warfarin group (at a mean %TTR of 55%) was 34 major bleeds per 1,000
      patients per year. The estimated rate for a 55% TTR is 35 major bleeds per 1,000 patients
      per year [Slide 2, ref. 8] while the estimated rate for a 75% TTR is 11 major bleeds per
      1,000 patients per year. The reported major bleeding rate with rivaroxaban was 36 per
      1,000 patients per year. The bottom line is that the reported major bleeding rates with
      warfarin and rivaroxaban were approximately 35 events per 1,000 patients per year while
      one would have expected only 11 such events if a TTR of 75% had been maintained.


      Why are the Data and the Information in the Package Insert for Rivaroxaban
      Misleading?

      It is logical to question why the INR control was so poor in the ROCKET AF trial and
      whether other factors may have contributed to a misleading interpretation of the data.


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      During the FDA approval hearing on rivaroxaban in 2011, Martin Rose, MD, JD of the
      FDA suggested that the essentials of VKA management were not adequate in the
      rivaroxaban study when he pointed out “that the ROCKET AF study enrolled the
      majority of its patients from regions where physicians don’t use warfarin very
      well….and that’s our major concern with this study… Very few patients were
      enrolled at sites where warfarin was used skillfully, resulting in insufficient data to
      assess the efficacy of rivaroxaban to warfarin when the latter is used well.”[22]

      Although Dr. Rose’s comments questioned the efficacy of warfarin because of geographical
      differences in warfarin management, closer examination of the data also indicate that the
      safety of warfarin use was not indicative of good warfarin management. Furthermore,
      issues other than geographical differences in warfarin management also appear to have
      contributed to worse outcomes with warfarin. The “bottom line” is that poor warfarin
      management and other factors led to worse outcomes in the warfarin-treated arm of
      the ROCKET AF trial to the extent that the overall study results are not applicable to
      sites in the U.S. or in other areas in which warfarin is moderately well managed.

      Although the validity of the previous statement applies to thromboembolic and
      hemorrhagic events, let’s consider the following seven issues related to bleeding risk and
      examine them in more detail.

         1. Major bleeding was 50% greater with rivaroxaban than with warfarin in U.S.
            patients.
         2. Anticoagulation control was consistently better in North America than other
            regions. The majority (65%) of patients were enrolled in countries or regions where
            warfarin management (INR control and clinical follow up) was so poor that
            treatment may have done more harm than good. North America (NA) enrolled 19%
            of patients and Western Europe (WE) enrolled 16%.
         3. In East Asian sites, which enrolled only 6.5% of patients, warfarin-treated patients
            had a several fold higher rate of intracranial hemorrhage (ICH) than in other regions
            and this fact skewed the overall study results in favor of rivaroxaban.
         4. Reliance on a subsequently recalled point of care (POC) or “fingerstick” INR
            device increased the risks for warfarin-treated patients across all study sites.
         5. Limited data suggest that “unskilled” dosage adjustments may have contributed to
            major bleeding risk.
         6. Failure to exclude patients with substantial elevations in blood pressure may have
            contributed to an increased risk of bleeding and hemorrhagic stroke.
         7. Recent data indicate that the safety and efficacy of warfarin is much better, at least
            in some settings, than was reported in the ROCKET AF trial

      1. Major bleeding was significantly 43% higher in North America [23] and 50%
         higher in the U.S. [24] with rivaroxaban than with warfarin, but this fact is not
         adequately addressed in professional promotional literature (such as the package
         insert) or direct-to-consumer advertising.

         Because FDA approval of a new medication is expected to reflect the relative safety for
         the U.S. population, it would seem logical for the FDA drug approval process to focus
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         on how rivaroxaban compared to warfarin in approximately 2,000 U.S. patients in the
         ROCKET AF trial. A backup set of 500 slides that Janssen reportedly prepared for an
         FDA Advisory Committee meeting [24] reveals the following information:

         x   Slide IN-530 shows that the major bleeding rate was statistically higher with
             rivaroxaban than with warfarin in the U.S.
         x   Slide IN-203 indicates that this high major bleeding rate with rivaroxaban in the
             U.S. was statistically 50% higher than with warfarin.
         x   Slides IN-200 and IN-203, by comparing U.S. event rates for rivaroxaban and
             warfarin, indicate that rivaroxaban produced 10 fewer strokes (a difference that
             failed to achieve statistical significance) at a cost of 36 more major bleeds (which
             was statistically significant). In other words, from a statistical perspective,
             rivaroxaban was not significantly more effective, but it was significantly more
             dangerous.

         When one considers the above data, one has to question why the rivaroxaban package
         insert (PI) does not contain a black box warning about its bleeding risk as was required
         for warfarin (with its lower bleeding risk) in 2006.[25] In fact, the higher U.S. major
         bleeding rate with rivaroxaban is not discussed at all in the PI and was only added to a
         data table after requested by the FDA.[26] This difference in PI content is misleading in
         terms of relative safety. Similarly, if one reviews the rivaroxaban PI, the risk of major
         bleeding is not presented up front as a warning, but rather is mainly addressed further
         back in the data section. Such PI placement and lack of emphasis on the greater
         bleeding risk with rivaroxaban in the U.S. can mislead U.S. clinicians and patients to
         conclude that rivaroxaban has a lower (not higher) bleeding rate than warfarin. Such
         misperception is further perpetuated in direct to consumer advertisements that do not
         identify the rivaroxaban bleeding risk as being greater than that of warfarin. These
         factors combined have contributed to the use of the drug that is not recognized by many
         clinicians and patients to carry a higher major bleeding risk than does warfarin in the
         U.S.

      2. Anticoagulation control was consistently better in North America than other
         regions and most patients were enrolled in regions with poor anticoagulation
         control and management. Because 65% of study patients were enrolled from
         regions where warfarin management was very poor, this skewed the data in favor
         of rivaroxaban and made the overall data not applicable to use in the U.S.

          Note: In some cases, data were available by country while in other instances, the data
          were grouped by geographic region. North America (NA) included Canada and the
          U.S. with approximately 75% of NA patients enrolled from the U.S.

          The safety and efficacy of warfarin is closely linked to how well the warfarin dosing is
          managed as discussed above and illustrated in the attached Slides 1 – 3. Slide 3
          indicates that the risk of a major event is quite low when patients with atrial fibrillation
          have an INR within the target range of 2 to 3, but that risk can rise exponentially as
          one’s INR moves toward more “extreme” values. This relationship between INR

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          control and events has led to several methods being advocated to judge warfarin
          management and as predictors of major event rates.

          x   %TTR, %iTTR, %expanded TTR and center TTR: The most commonly used
              measure of anticoagulation control is the percent of Time that the patient spends
              within the Target Range (%TTR). But the %TTR for a group of patients or clinic
              population can obscure the fact that some patients may have very poor INR control
              while others may have very good INR control. For that reason, the %TTR for
              individual patients (%iTTR) may be more useful. Also, because the risk of
              adverse events does not increase greatly when the INR is only marginally out of
              range, some value the %TTR in an “expanded” range (such as an INR target of 1.8
              to 3.5). Note that NA had the best (highest) TTR and “expanded” TTR (Table
              2).
          x   INR variance or standard deviation: Although %TTR and %iTTR provide
              insight into the percent of time spent out of range, it does not provide information
              on how far out of range the patients were or how much time was spent at extreme
              INR values. Again, from Slide 3 in the attached set, we can see that the risk of a
              major event increases exponentially as the INR moves beyond certain limits. The
              variance (or standard deviation) in the INR provides an indication of how widely
              the INR has fluctuated and in some [27, 28], but not all [10] studies, the variance
              in the INR has been a better predictor of major events than the %TTR. It is likely
              that variance is a stronger predictor in settings with poor (low) %TTR while it may
              be less important in settings with high %TTR.[10] Note that NA had the best
              (lowest) variance or standard deviation (Table 2). [Slides 10 and 13, Ref # 24]

      Table 2. INR control by region.
                              NA              WE               LA            EA/AP              EE
      %TTR                    63.8            58.1            53.6             52.0            48.6
      Stand. Dev.              19             20.5            21.5             24.1            22.2
      Expand. %TTR             84              83                             70%              70%
      NA = North America, WE = Western Europe, LA = Latin America, EA/AP = East Asia/Asian
      Pacific, EE = Eastern Europe Note that NA had the best INR control as indicated the highest
      %TTR, the lowest variance or standard deviation, and the highest expanded %TTR.

          x   %iTTR > 60% and/or > 75%: Attached Slide 1 illustrates that one needs to
              achieve an iTTR greater than 60% in order to reduce the risk of stroke, that the risk
              of stroke declines further with higher iTTR values (such as > 75%), and that as the
              iTTR falls to lower values, the adjusted risk of stroke actually increases over no
              treatment.[7] Similarly, the risk of major bleeding demonstrates a very similar
              pattern (attached Slide 2). For these reasons, knowing the number or percent of
              patients that achieve given levels of INR control (such as the % of patients with a
              %iTTR < 60% and > 75%) is important. Note that NA had the best indicators of
              INR control in this category - the lowest %iTTR < 60 and the highest %iTTR
              > 75. [29]




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      Table 3: Percent of patients who had iTTRs in different ranges by region.
                               NA           WE              LA            EA/AP             EE
      < 60% TTR                36.1        48.6             58.7            59.6           67.8
      60 – 75% TTR             33.4        30.9             26.3            22.4           21.2
      >75% TTR                 30.5        20.5             15.0            18.2           11.0
      NA = North America, WE = Western Europe, LA = Latin America, EA/AP = East Asia/Asian
      Pacific, EE = Eastern Europe

          x   %Time at extreme INRs: Another measure of poor INR control (that relates to
              the issue of INR variance) is the percent of time spent at the dangerous extreme
              INR values. In patients with atrial fibrillation, the focus may be on time spent at
              INRs < 1.7 (where the risk of stroke increases several fold) and/or > 4.0 (where the
              bleeding risk increases exponentially) (see attached Slide 3). Note that NA and
              WE (which combined enrolled 35% of patients) had better indicators in this
              measure (much lower % time at extreme INRs) than other regions (Table 4).
              [30]

      Table 4: Percent of patients who had iTTRs in different ranges by region.
                                NA              WE             LA             EA/AP             EE
      % Time < 1.7              8.0             8.0            na              18.8            19.7
      % Time > 4.               na               na            na               na              na
      na = not available, NA = North America, WE = Western Europe, LA = Latin America, EA/AP =
      East Asia/Asian Pacific, EE = Eastern Europe

          x   Time to follow-up after an extreme INR: Because the risk of stroke increases by
              three-fold or more when the INR falls to 1.5 or lower, and because the risk of
              major bleeding increases exponentially above an INR of 4.0, how quickly such
              extreme values are dealt with is of critical importance. As indicated in Table 5,
              such values received follow-up within an average time of only about one week in
              NA and WE, but in other regions the follow-up was delayed for more than 3
              weeks. [30] Such a prolonged delay would likely constitute malpractice in the U.S.

      Table 5: Time (days) to follow-up after an extreme INR of < 1.5 or > 4.0 by region.
                                NA              WE             LA             EA/AP            EE
      < 1.5                      9               9                             27              26
      > 4.                       7               7             na              23              25
      na = not available, NA = North America, WE = Western Europe, LA = Latin America, EA/AP =
      East Asia/Asian Pacific, EE = Eastern Europe

          x   Center TTR (cTTR): Center TTR (cTTR) is not often used to assess
              anticoagulation control but has been used to compare warfarin vs DOAC event
              rates in ROCKET AF and other clinical trials. The rationale behind this method is
              that the cTTR is an indication of the overall care that the patient is receiving and,
              therefore, that the outcome in sites with a high cTTR are likely better for both the
              warfarin and the DOAC groups. This would likely be valid if a given clinic TTR
              represented the same level of care from site to site and from country to country.
              But we know that clinics with the same TTR may have different dispersions of
              iTTR; one site may have most of its patients with iTTR values clustered close to
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              the mean clinic TTR while another site may have patients more widely dispersed
              with very high and very low iTTR. Two such sites would likely have different
              variance measures in the INR, might have different intensities of patient education,
              could have different amounts of patient-time spent at extreme INRs, and the
              clinical follow-up may be more intense in one site than the other. All of these
              factors would result in differences in quality of care even though the two sites
              might have the same cTTR.

      3. In East Asian sites, which enrolled only 6.5% of patients, warfarin-treated
         patients had a 3.9 fold greater intracranial hemorrhage (ICH) rate than did non-
         East Asian patients (2.46 vs 0.63).[31] Inclusion of data from this relatively small
         group of patients in the overall analysis misleads clinicians to think that the ICH
         rate was higher in other locations (which did not demonstrate this difference).
         Similarly, other major bleeding rates were also higher in East Asian sites but not
         to the same extent as the ICH difference. A lower ICH rate is very often touted as an
         advantage of rivaroxaban over warfarin but this touted difference becomes non-
         significant if the 6.5% of patients enrolled from East Asian sites are excluded from the
         analysis (Table 6). In the 93.5% of patients who were enrolled from non-Asian sites (n
         = 14,254), the ICH rates per 1,000 patients per year were not statistically different (4.9
         with rivaroxaban vs. 6.3 with warfarin) even though most of these patients were
         enrolled from regions with poor INR control. In the previously cited Swedish study,
         the rate of ICH among the more than 22,000 patients who had a %TTR > 70%, the ICH
         rate was 3.4.[12] As expected, hemorrhagic stroke (as a category of ICH) was similarly
         increased by a factor of 2.5 in East Asians taking warfarin (1.24 vs. 0.49), but this
         difference did not achieve statistical significance. Other categories of major bleeding
         tended to be higher in East Asians but the differences were not statistically significant.
         Besides rather poor INR control in East Asian countries, other factors that may have
         contributed to such a high bleeding rate include increased prevalence of genetic
         sensitivity to warfarin, dietary differences, and the greater use of potentially interacting
         herbal supplements.

      Table 6. Intracranial Hemorrhage (ICH) Rates in Selected Populations
                                                                              ICH Rates
               Population of Patients by site and drug                per 1,000 Patients per year
      ROCKET AF – East Asian, Warfarin n = 464                                   24.6
      ROCKET AF – East Asian, Rivaroxaban n =468                                  5.9
      ROCKET AF – non-East Asian, Warfarin n = 6,669                              6.3
      ROCKET AF – non- East Asian, Rivaroxaban n = 6,663                          4.9
      Sweden, Warfarin at %TTR > 70 n = 22,185                                    3.4
      The Netherlands, Warfarin n = 3,313*                                      3 – 5*
      ROCKET AF trial [9] data from Sweden [12] and The Netherlands [14] *All patients were more
      than 70 years old and the rate of ICH was higher in the very elderly.




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      4. Reliance on a subsequently recalled point of care (POC) or “fingerstick” INR
         device increased the risks for warfarin-treated patients across all study sites. The
         INRatio “fingerstick” INR device was used throughout the ROCKET AF trial to adjust
         warfarin doses. Blood samples were obtained for comparison at weeks 12 and 24 of the
         trial. Subsequently, the device was recalled because of discrepant results. The initial
         recall implied that erroneous results occurred primarily in patients with certain
         specified conditions. The European Medicines Agency analysis [32] and a US. based
         analysis [33] concluded that discrepant INR values in patients with the specified
         conditions would not alter the conclusions of the study. Subsequently, however, it was
         found that apparently erroneous INR results were distributed equally across individuals
         with and without the specified conditions. A letter to the editor challenging the earlier
         analyses [34] drew a response that included more information and further analysis.[35].
         Taken together, these last two publications [34,35] revealed that when lab and POC
         INRs are compared by therapeutic INR ranges of < 2, 2 – 3, >3 – 4, and > 4.:

          x   Results by ranges did not agree almost 40% of the time (meaning that the INR
              would be in one range by one method and in a different range by the other
              method).
          x   When the POC INR was in range (2 – 3, n = 5695), only 61.9% (n = 3528) of lab
              INRs were in range.
          x   When lab INR results were in range (2 – 3, n = 4,796), only 73.6% (n = 3,528) of
              POC INR results were in range.
          x   When lab INRs were > 4 where a dosage reduction would be clearly indicated (n =
              1,517), 30.1% (n = 467) of POC INRs were < 3 and 6.2% were < 2.
          x   When POC INRs were < 2 where a dosage increase would be in order (n = 2,218),
              51.9% (n = 1,151) of lab INRs were in range while 5.2% were in the 3 – 4 range,
              and 4.3% were > 4.

          While the more recent analysis described above clearly indicates a clinically important
          problem with the POC device used in this trial, it is difficult to determine what the
          clinical impact was. While the risk of bleeding is closely linked to INR control, it
          should be acknowledged that a modest elevation in the INR above the target range will
          not necessarily lead to a bleeding event. For example, if the INR is in range, the risk
          of a major bleeding event may be 1% or less over a year’s time. If the INR is modestly
          above the target range, the risk of bleeding may increase 3 to 5 fold; but the event rate
          would still be only 3% to 5% per year. Therefore, if faulty POC INR results led to
          over anticoagulation, the resulting high bleeding rate of perhaps 5% in absolute terms
          might not be immediately obvious. Furthermore, a variety of other factors can
          influence the rate of bleeding events further clouding the assessment of the impact of
          faulty POC INR results in a large population. Because of such considerations, an
          examination of the records was conducted of those patients who did bleed shortly after
          having both lab and POC INR results performed. None of the published analyses took
          this approach of looking at cases of major or non-major clinically relevant bleeds to
          see if INR discrepancies may have led to a bleeding event. The data presented in
          DiBattiste Exhibit 7 [36] provides the opportunity to evaluate this question by
          comparing lab and POC INRs at weeks 12 and 24 in those patients who experienced

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         such bleeding events within the next 30 days or before the next visit. There were 13
         such patients in the 12 week group and 15 patients in the 24 week group for a total of
         28 patients with major bleeds in the immediate period after dual INR samples were
         collected. One patient in the 24 week group did not have a POC INR reported which
         left 27 evaluable patients. The data from both periods were combined and evaluated
         according to the following criteria with the results presented in Table 7.

         The first step was to identify instances in which POC and lab discrepancies were
         clearly not an issue contributing to the bleeding event. In this assessment, the criteria
         were (a) both values were within the target range, (b) both values were above the target
         range but < 3.5, and (c) both values were below the target range but were similar
         (difference of 0.3 INR units or less). Only 8 of 27 patients (30%) met the criteria to
         exclude a contribution of faulty POC INR results to the bleeding events.

         The second step was to examine whether faulty POC INR results may have led to a
         failure to make an appropriate dose reduction or to an inappropriate dose increase. The
         criteria used included (d) failure to reduce the dose when the POC INR was in range
         but the lab INR was high, (e) failure to reduce the dose adequately because both INRs
         were high and the lab INR was at least 0.5 INR units higher than the POC INR
         (perhaps suggesting a larger dose reduction was in order), (f) unwarranted dose
         increase due to a POC INR being low when the INR was high, and (g) unwarranted
         dose increase due to POC INR being below range with the lab INR in range and either
         the difference being at least 0.5 INR units or the POC being 1.7 or less. Thirteen
         (48%) met the criteria for likely failure to reduce the warfarin dose when needed and
         six (22%) met the criteria for likely having an unwarranted dose increase. The
         combined total is 19 patients (70%) for those with bleeding having a plausible
         explanation for faulty POC results contributing to the bleeding event. Furthermore, as
         indicated in the Table 7, when patients met the criteria that discrepant pairs likely
         contributed to the bleed, the difference in mean INR results for each criterion was very
         large. In almost all cases, the mean lab INR was approximately 2 INR units higher
         than the mean POC INR for each of the criteria.

         Table 7: Potential Impact of Lower POC INR on Bleeding Events (n = 27) [36]
                                                                                     Mean (range)
         Criteria for assessing impact of POC v Lab INRs      N (%)     POC INR      Lab INR            Diff.
         POC Results Likely NOT Harmful
         (a) No Impact, both values in range (5 of 6 were    6 (22%)*      2.40         2.42            0.89
              in week 24)*                                              (2.0-2.9)   (2.0-2.78)        (0-0.17)
         (b) No Impact, both values above range and <        1 (4%)*     3.1 (na)     3.33 (na)       0.21 (na)
              3.5 (POC above range only in wk 12)*
         (c) No Impact, both values below range with          1 (4%)     1.5 (na)    1.75 (na)        0.25 (na)
              difference of 0.3 INR units or less
                                                     Total   8 (30%)

         POC Results Likely Harmful
         (d) Failure to decrease dose: POC INR in range,                  2.57          4.31            1.76
             lab INR high                                     9 (33%)   (2.3-2.8)   (3.24–8.35)     (0.51-5.75)
         (e) Failure to decrease dose adequately: Both       4 (15%)*     4.52          6.64            1.96
             values above range and Lab > POC by > 0.5                  (3.8-6.1)   (4.74-8.43)     (0.82-3.76

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              INR units (POC above range only in wk 12)*
                             Total failure to decrease dose   13 (48%)
          (f) Unwarranted dose increase: POC < range,           1 (4%)   1.6 (na)     11.0 (na)     9.4 (na)
              Lab high
          (g) Unwarranted dose increase: POC < range           5 (21%)     1.58          3.78          2.2
              and Lab in range and (a) 0.5 INR units                     (1.3-1.8)   (2.06-9.09)   (0.46-7.49)
              higher than POC or (b) POC =1.7 or less
                           Total unwarranted dose increase     6 (22%)
              Combined total likely harmed by POC results     19 (70%)
          *Note: Although data from week 12 and week 24 were combined in this analysis, a couple of
          unexplained differences were observed between the two periods. All of the 5 instances in
          which the POC INR was above the target range occurred at week 12; there were no POC INR
          results above the target range in week 24. Almost all (5 of 6) instances when both POC and
          lab INRs were in range, 5 occurred in week 24. I have no explanation for these week 12 vs
          week 24 differences in the distribution of data.

      5. Limited data suggest that “unskilled” dosage adjustments may have contributed
         to bleeding risk. According to the FDA Advisory Committee meeting transcript, there
         was considerable discussion of whether the high bleeding rate with rivaroxaban may
         have been due to “unskilled” management of the warfarin dose.[22] Much of the
         information presented above regarding INR control would suggest that the warfarin
         management was very poor (or “unskilled”) in the regions that enrolled the majority of
         patients. Assessment of the appropriateness of dosage changes in the data presented by
         Janssen is not feasible because dosage changes were presented as specific mg. dosage
         changes. Such information is not very useful because the individual dose of warfarin is
         so variable. For example, one patient may require 7 mg of warfarin per week while
         another may require 140 mg (or more) per week. A 2 mg/wk increase in the former is a
         dose increase of approximately 29% while in the latter it would be less than a 2% dose
         increase. During chronic dosing, most appropriate changes in dose will be 5% to 10%
         of the weekly dose with a 20% change being an unusually large change.

      6. Failure to exclude patients with substantial elevations in blood pressure may have
         contributed to an increased risk of major bleeding and stroke. A review by Hart, et
         al. [37], concluded that an elevation of 9 mm Hg in systolic blood pressure in warfarin-
         treated patients doubles the intracranial hemorrhage risk while an increase of 12 mm
         Hg triples the risk. Further, Rao, et al [38] found that patients who had poor blood
         pressure control (defined as systolic pressure of 140 mm Hg or higher and/or diastolic
         pressure of 90 mm Hg or higher) at any time during one large study had a 50% higher
         stroke rate. With these factors in mind, it is very concerning that the ROCKET AF
         protocol allowed patients to enter the trial with blood pressures up to 180/100 mm Hg.
         While we do not know how many patients entered the trial with such high blood
         pressure readings, we do know that approximately 90% of the patients had high blood
         pressure and that high blood pressure was associated with an increased risk of
         bleeding.[23]




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      Summary: Because of the issues and limitations outlined above, the ROCKET AF trial
      does not provide a fair comparison of the safety (and efficacy) of rivaroxaban vs. warfarin
      for patients and clinicians who are located in the U.S. and other geographic regions where
      at least “typical” anticoagulation can be provided. With “typical management” in the U.S.,
      the rate of major bleeding was 50% higher with rivaroxaban than with warfarin, yet this
      difference is not discussed in the rivaroxaban package insert and a black box warning has
      not been required (as is the case for warfarin). Recent advances in anticoagulation
      management suggest that the safety and efficacy of warfarin therapy can be improved
      substantially beyond what was reported in the ROCKET AF trial. The available data
      indicate that monitoring rivaroxaban levels with the PT can be used to reduce the risk of
      bleeding. The lack of a safe and effective antidote for rivaroxaban remains a concern.
      Lastly, the rivaroxaban package insert and promotional materials (including television
      advertisements) fail to adequately warn patients or clinicians in the U.S. of the bleeding
      risk of this drug and the study limitations.




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       29.   Health Authority Response; Response to FDA Request for information regarding the Alere
             INRatio Monitor System Recall. EDMS-ERI-122861949, XARELTO_Janssen_22661455,
             April 18, 2016, page 65.
       30.   Singer DE, Hellkamp AS, Piccini JP, et al. Impact of global geographic region on time in
             therapeutic range on warfarin anticoagulation therapy: Data from the ROCKET AF clinical
             trial. J Am Heart Assoc 2013, 2:e000067. doi: 10.1161/JAHA.112.000067.
       31.   Wong KSL, Hu DY, Oomman A, et al. Rivaroxaban for stroke prevention in East Asian
             patients from the ROCKET AF trial. Stroke 2014; 45:1739 – 1747.
       32.   European Medicines Agency assessment report: Xarelto. February 5, 2016
             (http://222.ema.europa.eu/docs/en_GB/document_library/EPAR_-_Assessment_Report_-
             _ariation/human/000944/WC500201726.pdf).
       33.   Patel MR, Hellkamp AS, Fox KAA. Point-of-care warfarin monitoring in the ROCKET AF
             trial. N Engl J Med 2016; 374:785-8.
       34.   Powell JR. Point-of-care warfarin monitoring in the ROCKET AF trial (letter) 2016. DOI:
             10.1056/NEJMx1604020.



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                                                                                                       USCA5 2603
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       35.   Patel MR and Fox KAA. Point of Care warfarin monitoring in the ROCKET AF trial. N
             Engl J Med. 2016 DOI: 10.1056/NEJMc1604020 (including the extensive supplemental
             materials available only online with full text of the letter at NEJM.org).
       36.   DiBattiste Exhibit 7 – Data provided on week 12 and week 24 paired INR results in
             patients who experienced a major or non-major clinically relevant bleed shortly after the
             paired INR samples were obtained.
       37.   Hart RG, Tonarelli SB, Pearce LA. Avoiding central nervous system bleeding during
             antithrombotic therapy, recent data and ideas. Stroke 2005; 36:1588-1593.
       38.   Rao M, Halvorsen S, Wojdyla D, Alexander J, Lopes R, Hylek E, et al. Poorly controlled
             blood pressure is independently associated with a 50% higher risk of stroke or systemic
             embolism in patients with atrial fibrillation: Results from the ARISTOTLE trial. (Abstract
             A362) J Am Coll Cardiol. 2014; 63 (Abstract A362).




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                                                                                                     USCA5 2604
     Case 2:14-md-02592-EEF-MBN
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                                 Attached Slides (3)

      Slide 1




      Slide 2




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      Slide 3




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                                APPENDIX A




                                                                             USCA5 2607
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                                  Materials Relied On, Reviewed, and/or Considered by Henry I. Bussey, Pharm.D., FCCP
 All materials referenced and/or discussed within the report are incorporated. In addition to the materials specifically referenced within the report, the other materials
                                                                 relied on, reviewed, and/or considered are as follows:
Literature
Assan, et al. The effect of freezing storage of citrated plasma on prothrombin time and activated partial thromboplastin time. Asian Journal of Biomedical & Pharmaceutical
Sciences (2013)
Feng, et al. Effects of storage time and temperature on coagulation tests and factors in fresh plasma. Scientific Reports (2014)
Hylek, et al. Effect of intensity of oral anticoagulation on stroke severity and mortality in atrial fibrillation. NEJM (2003)
Letter to the Editor (Powell) and Author’s Reply (Patel, et al.). POC Warfarin Monitoring in the ROCKET AF Trial. NEJM (2016)
Lippi, et al. Urgent monitoring of direct oral anticoagulants in patients with AF: a tentative approach based on routine laboratory tests. J. Thromb. Thrombolysis (2014)
Nakano, et al. Clinical usefulness of measuring prothrombin time and soluble fibrin levels in Japanese patients with atrial fibrillation receiving rivaroxaban. Journal of
Cardiology (2014)
Ndakotsu, et al. Effect of plasma storage on prothrombin time and activated partial thromboplastin time at a Nigerian public laboratory. Sahel Medical Journal (2013)
Patel, et al. POC warfarin monitoring in the ROCKET AF trial. NEJM (2016), including supplementary appendix
Pokorney. Research Letter,:Stability of INR in patients taking long-term warfarin therapy. JAMA (2016)
Van den Besselaar, et al. Long-term stability of frozen pooled plasmas stored at -70, -40, and -20 C for prothrombin time and INR assessment. Thrombosis Research (2013)
Veeger. Early detection of patients with a poor response to vitamin K antagonists: the clinical impact of individual time within target range in patients with heart disease. Int’l
Society on Thrombosis and Haemostasis (2006)

Internal Documents
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XARELTO_JANSSEN_00200000
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XARELTO_JANSSEN_22661441
XARELTO_JANSSEN_22661443
XARELTO_JANSSEN_22661445
XARELTO_JANSSEN_22661447
XARELTO_JANSSEN_22661452
XARELTO_JANSSEN_22661453
XARELTO_JANSSEN_22661455
XARELTO_JANSSEN_22661612

Other Documents
December 5, 2014 Customer Letter re: Alere INRatio PT/INR Monitor System
December 5, 2014 Dear Healthcare Professional Letter re: Alere INRatio PT/INR Monitor System
December 5, 2014 Recall Notice – “Alere INRatio and INRatio2 PT/INR Monitor System (Professional and Prescription Home Use) – Falsely Low INR Test Results”
FDA Briefing Document for the Cardiovascular and Renal Drugs Advisory Committee Meeting for Xarelto (NDA 202439), Sept. 8, 2011
FDA Summary Review, Xarelto (NDA 202439)
Mayo Clinic, Ensuring Specimen Integrity: Proper Processing and Handling of Specimens for Coagulation Testing (October 2008)
NIH, Charting the Future Together: The NHLBI Strategic Vision
PowerPoint by Martin Rose (FDA Clinical Reviewer), FDA Cardiovascular and Renal Drugs Advisory Committee Meeting for Xarelto (NDA 202439), Sept. 8, 2011
Quest Diagnostics, Prothrombin with INR and Partial Thromboplastin Times
Weston, Pre-analytical factor affecting coagulation testing (GBMC Healthcare)




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                                APPENDIX B




                                                                             USCA5 2610
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                                                 CURRICULUM VITAE
                                                  Henry I. Bussey


   PERSONAL INFORMATION

   Office Address:
   Genesis Clinical Research and ClotCare.org
   The Medical Park at Stone Oak
   19260 Stone Oak Parkway, Suite 101
   San Antonio, Texas 78258
   Tel: 210-495-4335, option 1
   Fax: 210-587-7415

   Professional Licenses:       Indiana #12626
                                Texas #21257

   Professional Memberships:
           1974 - 2005           The American Society of Hospital Pharmacists
           1978 - 1982           The American Society for Parenteral and Enteral Nutrition
           1980 - 1995           The American Association of Colleges of Pharmacy
           1981 - present        The American College of Clinical Pharmacy
           1982 - 2000           Central Texas Society of Hospital Pharmacists
           1984 - 1987           Society of Teachers of Family Medicine
           1984 - 1989           North American Primary Care Research Group
           1984 - 2000           The Texas Society of Hospital Pharmacists
           1989 - 1997           The American Federation for Clinical Research
           1992 - present        The Anticoagulation Forum
           1994 – present        The American Heart Association and the Council on High Blood Pressure Research
           1999 – present        The American College of Chest Physicians
           2008 – present        The North American Thrombosis Forum

   CURRENT POSITIONS (and related appointments)
   President, Genesis Clinical Research, San Antonio, Texas
   President and Senior Editor, ClotCare Online Resource (www.ClotCare.com), San Antonio, Texas

   PREVIOUS POSITIONS
   1982 – 2011      Professor, College of Pharmacy, The University of Texas at Austin and Clinical Professor, the
                    University of Texas Health Science Center at San Antonio.
   1994 – 2010      Clinical Director, Anticoagulation Clinics of North America, San Antonio.
   1986 - 1999      Director, Pharmacotherapy Consultants Clinic, Brady-Green Community Health Center, San Antonio.
   1984 - 1992:     Director, Anticoagulation Clinic, Brady-Green Community Health Center, San Antonio.
   1984 - 1987:     Assistant Professor, Department of Family Practice, The University of Texas Health
                    Science Center at San Antonio.



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   PREVIOUS POSITIONS (continued)
   1978-1982:       Assistant Professor, College of Pharmacy, The University of South Carolina, Columbia,
                    South Carolina.
   1978-1982:       Coordinator of Clinical Pharmacy Services, and Clinical Pharmacologist, Ancillary Medical Staff,
                    Richland Memorial Hospital, Columbia, South Carolina.
   1975-1978:       Teaching Assistant, College of Pharmacy, The University of Texas at Austin and The University
                    of Texas Health Science Center at San Antonio.

   1972-1975:       Pharmacist and Hyperalimentation Specialist, Baptist Medical Center and Jacksonville Children's
                    Hospital, Jacksonville, Florida.
   1971-1972:       Pharmacist and Assistant Manager, Hook Drugs, Inc., Indianapolis, Indiana.

   EDUCATIONAL HISTORY
   1965-1967:       Georgia Southern College, Statesboro, Georgia.
   1967-1968:       The University of Georgia, Athens, Georgia.
   1968-1971:       School of Pharmacy, The University of Georgia, Athens, Georgia.
                    Bachelor of Science received June, 1971.
   1975-1978:       The University of Texas Health Science Center at San Antonio; and College of Pharmacy, The
                    University of Texas at Austin. Doctor of Pharmacy received May, 1978.
                    This 36-month program integrated the pathophysiology courses of the second-year
                    Medical School curriculum and courses in advanced pharmacotherapeutics, pharmacokinetics,
                    physical assessment skills, and drug literature evaluation into an intensive first-year didactic
                    experience. Experiential training as a team member in several patient-care units and the Drug
                    Information Center comprised the second and third years. Teaching responsibilities and an
                    investigational project were additional requirements of the last two years of the program. The
                    awarding of the degree required the successful completion of a comprehensive challenge exam.
   1977-1978:       Clinical Pharmacy Residency in Internal Medicine. The University of Texas Health Science
                    Center at San Antonio.

   SPECIAL HONORS, AWARDS, and APPOINTMENTS (most recent first):
   (see professional service activities for organization appointments)

   2009 – present   Appointed to the Scientific Advisory Board of the North American Thrombosis Forum

   2008-2011        Selected for the GSK Distinguished Scholar in Thrombosis Award by the Chest Foundation of the
                    American College of Chest Physicians.

   2008             Received a global Humanitarian Award from the Chest Foundation of the American College of
                    Chest Physicians for service through ClotCare.org

   2007             Visiting Grand Professor, University of Pittsburgh Medical Center, Pittsburgh, Pennsylvania,
                    August 17, 2007.

   2007             Visiting Professor in Japan as part of the Japanese Ministry of Health’s program to facilitate
                    change in Pharmacy Practice and Education. March 10 – 25, 2007.

   2006             Invited moderator for session on heart valve disease, Annual Scientific Session, American Heart
                    Association Annual Meeting, Chicago, Illinois, November 15, 2006.

   2006             Career Achievement Award, Ambulatory Care Practice and Research Network, American College
                    of Clinical Pharmacy, St. Louis, Missouri, October 28, 2006




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   SPECIAL HONORS, AWARDS, and APPOINTMENTS - continued
   (see professional service activities for organization appointments)

   2006             The Pinnacle Award (individual category), The American Pharmacy Foundation, The Museum of
                    American History, The Smithsonian Institute, Washington, D.C. June 13, 2006.

   2007             Selected to represent the American College of Clinical Pharmacy at the Surgeon General’s
                    Workshop on Deep Vein Thrombosis, Bethesda, Maryland, May 8 – 9, 2006.

   2006             Julius W. Sturmer Memorial Lecturer, Rho Chi Society, Philadelphia College of Pharmacy,
                    University of The Sciences in Philadelphia, Philadelphia, Pennsylvania. “Life Lessons Learned by
                    An Old Geezer; On Passion, Reason, Compassion, and Insight.” April 1, 2006.

   2003             21st Robert G. Leonard Memorial Lecturer, Texas Society of HealthSystems Pharmacists Annual
                    Meeting, Arlington, Texas. April 4, 2003.

   2003             Appointed to the Seventh American College of Chest Physicians Consensus Conference on
                    Antithrombotic Therapy, sections on Oral Anticoagulants, Prosthetic Heart Valves, and
                    Management Systems.

   2003             Reviewer of Clinical Research Trainee Awards for the American College of Chest Physicians
                    Foundation.

   2000:            Elected Fellow, American College of Chest Physicians

   2000:            Elected Distinguished Scholar in the National Academies of Practice – Pharmacy

   2000             Appointed to the Safety and Monitoring Board for “A Multicenter, Randomized, Double-Blind,
                    Placebo-Controlled, Dose-Ranging, Safety and Efficacy Study of Recombinant P-Selectin
                    Glycoprotein Ligand-Ig in Combination with Thrombolytic Therapy in Patients with Acute
                    Myocardial Infarction”, a study sponsored by Wyeth-Ayerst Research.

   2000             Medical Advisory Board, HemoSense, Inc.

   2000             Grant Reviewer for the Center for Ecogenetics and Environmental Health, University of
                    Washington, Seattle, Washington.

   1999 - 2000      Appointed to the Sixth American College of Chest Physicians Consensus Conference on
                    Antithrombotic Therapy, sections on Oral Anticoagulants, Prosthetic Heart Valves, and
                    Management Systems.

   1999 - 2001      Appointed to the American Pharmaceutical Association’s Strategic and Tactical Analysis Team
                    (STAT) on Payment and Empowerment.

   1999:            Invited participant in the Duke Clinical Research Institute and American Heart Association
                    Symposium on Antithrombotic Therapy for Prosthetic Cardiac Valve Implantation.

   1999 - 2000      Appointed to the Quality Improvement Task Force for Pharmacotherapy.

   1998 - Present   Appointed to the Editorial Board of Pharmacotherapy.

   1998:            Appointed to the Fifth American College of Chest Physicians Consensus Conference on
                    Antithrombotic Therapy, sections on Oral Anticoagulation and Management Systems.

   1997:            Appointed to the American College of Chest Physicians mini-Consensus Conference on Venous
                    Thrombosis.

   1996 - 1998      Appointed to the Editorial Board of the Journal of Thrombosis and Thrombolysis.


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   SPECIAL HONORS, AWARDS, and APPOINTMENTS - continued
   (see professional service activities for organization appointments)

   1996:           Appointed to the Editorial Board of Current Issues in Hypertension.

   1996:           Appointed to the College of American Pathologists Consensus Conference on Laboratory
                   Monitoring of Oral Anticoagulation.

   1995:           Elected Fellow in the Council for High Blood Pressure Research, American Heart Association.

   1995:           Elected to the Board of Regents, The American College of Clinical Pharmacy.

   1995:           Appointed to the Pharmacy Council on Stroke Prevention.

   1994:           Appointed to the Fourth American College of Chest Physicians Consensus Conference on
                   Antithrombotic Therapy, section on Oral Anticoagulation.

   1994:           Received the American College of Clinical Pharmacy Clinical Practice Award.

   1993:           Appointed to the Steering Committee of the Anticoagulation Forum (a national organization of
                   anticoagulation clinic directors and others involved in anticoagulation research and practice).

   1993 - 1998:    Appointed Chairman of the Data Safety Monitoring Board for the multi-center trial "A Double-
                   Blind Comparison of the Efficacy and Safety of Extended Outpatient Treatment with Subcutaneous
                   Normiflo Versus Placebo for the Prevention of Deep Vein Thrombosis in Patients After Hip or
                   Knee Replacement Surgery", a multi-center study sponsored by Wyeth-Ayerst Research.
   1992:           Faculty Mentor Third Place Award, Searle Fellowship in Pharmacy.
   1991:           Appointed to the Medicine and Health Care Panel of the Texas Telecommunications
                   Forum.
   1989:           Received the American College of Clinical Pharmacy-Genentech Research Fellowship in
                   Cardiovascular Therapeutics (as preceptor).
   1989:           Member of the American Federation for Clinical Research

   1988 - 1991:    Appointed to a three-year term as a member of the Institutional Review Board for Human
                   Investigations, The University of Texas Health Science Center at San Antonio. (Nominated to
                   serve as Chair-Elect in 1989).
   1988:           Appointed Chairman of the Editorial Advisory Board Panel on General Medicine, Drug
                   Intelligence and Clinical Pharmacy.

   1987:           Elected Fellow of the American College of Clinical Pharmacy (FCCP).

   1987-1993:      Appointed to Editorial Board, General Medicine Panel, Drug Intelligence and Clinical Pharmacy.

   1986-1990:      Clinical Investigator Member, Steering Committee for the Ambulatory Clinical Research Center,
                   Bexar County Hospital District Medical Staff.
   1986-Present:   Affiliate Member of the Medical and Dental Staff of the Bexar County Hospital District, San
                   Antonio, Texas.
   1982-present:   Graduate Faculty, Graduate School of Biomedical Sciences, The University of Texas Health
                   Science Center at San Antonio.
   1980-present:   Rho Chi Pharmacy Honor Society.




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   SPECIAL HONORS, AWARDS, and APPOINTMENTS - continued
   (see professional service activities for organization appointments)
   Referee or Reviewer for (alphabetically):
           American Journal of Cardiology (1982, 1983, 1987, 1996, 2000, 2001, 2004, 2005, 2006)
           American Journal of Kidney Disease (2004)
           American Journal of Medicine (2003 - present)
           Archives of Internal Medicine (1982-Present)
           Annals of Internal Medicine (1984- present)
           Annals of Pharmacotherapy (1990 - present)
           Circulation (1997 - Present)
           Clinical Pharmacy (1982 - 1995)
           Clinical Therapeutics (1999)
           Drug Intelligence and Clinical Pharmacy (1980 - 1990)
           Drugs and Aging (2004)
           Encyclopedia of Clinical Pharmacy, Joseph T. DiPiro, Editor. (2001)
           Hospital Pharmacy (1984)
           Journal of the American College of Cardiology (1996 - present)
           Journal of the American Board of Family Practice (1989 - 1992)
           Journal of Thrombosis and Haemostasis (2010 - present
           Journal of Thrombosis and Thrombolysis (1999-present)
           Medical Science Monitor (2005)
           Pharmacotherapy (1985-Present)
           Surgical Issue Circulation (1999 - Present)
           Thrombosis Research (1999)
           Thrombosis and Haemostasis (2003- present)
           Western Journal of Medicine (1993 - 1995)


   Appointed to National Advisory Boards for:
           Rhone Poulenc Rorer (1988 - 2000)
           Upjohn-Pharmacia (1998 - 2003)
           Sulzer Carbomedics (1998 - 2008)
           Astra-Zeneca (1999 - present)
           Aventis (2000 – 2003)
           Sanofi-Aventis (2003 – present)
           Boehringer-Ingelheim (2005 – present)
           Ortho McNeil      (2008 – present)




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   SPECIAL HONORS, AWARDS, and APPOINTMENTS - continued
   (see professional service activities for organization appointments)

   Appointed to the National Medical Education Speakers' Bureau for:
               Boehringer-Ingelheim, Inc. (1984 – 1995, 2000-2007)          A.H. Robins, Inc. (1984 - 1995)
               Ciba-Geigy Corp. (1986 - 1997)                               Wyeth-Ayerst (1990 - 2007)
               DuPont Pharma (1992 - 2000)                                  Lederle, Inc. (1992 - 1995)
               Rhone Poulenc Rorer (1992 - 2000)                            Carbomedics (1998 - present)
               Boehringer Mannheim Corp. (1997 - 2000)                      Sanofi-aventis (2000 – 2004)

   INVENTIONS
               "TPN Wheel Calculator", Patent Application Number 398429

   FDA EXPERIENCE
               Investigational New Drug Application (IND) number 34,117 for Ciprofloxacin tablets
               Provisional patent on new vitamin K antagonist products with M. Walker

   PUBLICATIONS

   The following were published in 1978 and 1979 in the drug information source, Drugdex, Micromedex, Inc.,
   Englewood, Colorado.

   1.          Evens RP and Bussey HI. Bromocriptine: Comparison in Parkinsonism.
   2.          Evens RP and Bussey HI. Pyridostigmine vs. Neostigmine Muscle Relaxant Reversal.
   3.          Evens RP, Terrill M and Bussey HI. Chlorpropamide Therapy of Diabetes Insipidus.
   4.          Evens RP and Bussey HI. Diazepam: Oral Therapy of Seizure Disorders.

   Abstracts:
        1.   Bussey HI and Hoffman EW. Inappropriate Sample Collection and Misuse of Serum Drug Assays
             (abstract #5). Drug Intelligence and Clinical Pharmacy, 1981; 15:476-7.

        2.   Bussey HI. Total Parenteral Nutrition in Cancer Chemotherapy: A Weapon or a Tool? (Abstract), page 192-
             193, Sixth Clinical Congress of the American Society for Parenteral and Enteral Nutrition, February, 1982.

        3.   Bussey HI, Farringer JA, Merritt GJ. Influence of Rifampin on Quinidine and Digoxin (abstract #17). Drug
             Intelligence and Clinical Pharmacy 1983; 17:436.

        4.   Bussey HI and Hawkins DW. Analysis of Methods Employed in Identifying and Recruiting Study Subjects
             (abstract #187), North American Primary Care Research Group Annual Meeting, May, 1984.

        5.   Bussey HI, Watson WA, Hawkins DW, Wang P. Practical Value of a New Serum Digitoxin Assay (abstract
             #68). Drug Intelligence and Clinical Pharmacy 1985; 19:458.

        6.   Bussey HI, Hawkins DW, Gaspard JJ. Digoxin vs. Digitoxin in the Treatment of Congestive Heart Failure
             (abstract #69). Drug Intelligence and Clinical Pharmacy 1985; 19:458-459.

        7.   Talbert RL, Dalmady-Israel C, Bussey HI, Crawford MH, Ludden TM. Effect of Sucralfate on Plasma
             Warfarin Concentration in Patients Requiring Chronic Warfarin Therapy (abstract #59). Drug Intelligence
             and Clinical Pharmacy 1985; 456-457.

        8.   Saklad JJ, Bussey HI. Influence of Influenza Vaccine on Warfarin Therapy (Abstract #43). Drug Intelligence
             and Clinical Pharmacy. 1986;20:460.



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   PUBLICATIONS (continued)
   Abstracts (continued) :

     9.   Dalmady-Israel C, Talbert RL, Ludden TM, Bussey HI, et al. Steady-state Kinetics of R and S Warfarin in
          Different Age Groups (Abstract #96) Drug Intelligence and Clinical Pharmacy. 1986;20:472.

     10. Bussey HI. Step-Care Therapy of Hypertension (Abstract), Annual Meeting Program, American Society of
         Hospital Pharmacists, Denver, Colorado, June 3-6, 1986.

     11. Montiel MM and Bussey HI. Response of Protein C and Protein S Inhibitors in Long-term Oral Anticoagulant
         Therapy (abstract #1078). Thrombosis and Haemostasis 1987; 58:295.

     12. Bussey HI, Rospond R, Quandt C, Clark G. A Predictive Model for Monitoring Frequency of Chronic
         Anticoagulation (abstract #1). Pharmacotherapy 1988; 8:118.

     13. Mueller BA, Bussey HI, Casto DT, Lowder NK, Sugarek NJ. Digitoxin-like Immunoreactive Substance in
         Adults with Renal Insufficiency (abstract #71). Pharmacotherapy 1988; 8:128.

     14. Bussey HI. Cardiovascular Effects of Hypertension Therapy, Annual Meeting Program of the American
         Academy of Occupational Medicine, October, 1988.

     15. Bussey, HI. Hypertension, Matching Pathophysioloby and Therapy, Annual Meeting Program for the
         American College of Clincal Pharmacy, August, 1989.

     16. Bianco TM, Bussey HI, Linn WD, Farnett L, Wong J. Investigation of the Potential Interaction Between
         Warfarin and Ciprofloxacin in Chronically Anticoagulated Patients, Program for the Annual Meeting of the
         American College of Clinical Pharmacy, August, 1990.

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   PUBLICATIONS (continued)
   Letters, Book Reviews, Interviews, etc. (continued) :

     12. Bussey HI. Drug Interactions Decision Support Tables (book review). Drug Intelligence and Clinical
         Pharmacy 1987; 21:840-841.

     13. Bussey HI, Rospond RM, Quandt CM, Talbert RL. The risk of lone atrial fibrillation (letter). New England
         Journal of Medicine 1988; 318: 639-640.

     14. Mueller BA, Bussey HI, Casto DT. Comment: Unusual digoxin concentrations (letter). DICP, The Annals of
         Pharmacotherapy 1989; 23:93.

     15. Bussey HI. Lisinopril (invited commentary). Pharmacotherapy 1989; 9(3):129-130.

     16. Bussey HI. Clinical Atlas of Hypertension (book review). The Annals of Pharmacotherapy 1992; 26:717-718.

     17. Force RW, Roush MK, and Bussey HI. "Warfarin and the International Normalized Ratio" (letter) Annals of
         Pharmacotherapy 1992; 26:430.

     18. Roush MK, Bussey HI, Bianco TM. Do flouroquinolones alter the effects of warfarin therapy ? (letter)
         Archives of Internal Medicine 1992; 152:1533-1534.

     19. "Warning: PT reporting may be misleading" (interview). Emergency Medicine 1992; 24:69-73.

     20. Bussey HI, Linn WD. Warfarin and aspirin after heart-valve replacement (letter). New England Journal of
         Medicine 1994; 330:508.

     21. Bussey HI, Aspirin in prevention of stroke (letter). Lancet 1994; 343:234-235.

     22. Bussey HI and Chiquette E. Costs of oral anticoagulation treatment after myocardial infarction. (letter) JAMA
         1995; 274:1588-1589.

     23. Amato MG, Bussey HI, Farnett LE, Lyons RM. Acetaminophen and risk factors for excess anticoagulation
         with warfarin (letter). JAMA 1998; 280:695-696.

     24. Bussey HI. Hawkins DW. Groce JB III. Therapeutic interchange of low-molecular-weight
         heparins.[comment] American Journal of Health-System Pharmacy 2000; 57:1800.

     25. Reese AM. Talbert RL. Bussey HI. Angiotensin-converting-enzyme inhibitors and diuretics for
         hypertension.[letter] New England Journal of Medicine 2003; 349:90-3.


   PRESENTATIONS

   Presentations at National Meetings (* Denotes invited presentations)

     1. "Pediatric and Neonatal Hyperalimentation", American Society of Hospital Pharmacists Annual Midyear
         Clinical Meeting, Bal Harbor, Florida, December, 1974.

     2. "Pharmacist Coordination of Interdisciplinary Specialists in Design of a TPN Manual", American Society of
         Hospital Pharmacists Annual Midyear Clinical Meeting, Atlanta, Georgia, December, 1977.

     3. *"Considerations in Monitoring the TPN Patient", American Society of Hospital Pharmacists Institute on IV
         Therapy and TPN, Tulsa Oklahoma, October 28, 1978.

     4. *Faculty participant in workshops on Total Parenteral Nutrition at the ASHP Institute, Tulsa, Oklahoma,
         October 25-28, 1978.




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   PRESENTATIONS (continued)
   Presentations at National Meetings (* Denotes invited presentations, continued)

     5. "Digoxin-Quinidine Interaction", American Society of Hospital Pharmacists Annual Midyear Clinical Meeting,
         Las Vegas, Nevada, December, 1979.

     6. *"Enteral and Parenteral Nutritional Support of Cancer Patients", American Society for Parenteral and Enteral
         Nutrition, Fourth Annual Clinical Congress, Chicago, Illinois, January 30-February 2, 1980.

     7. *"Evaluation and Monitoring of the Adult TPN Patient", First Annual Nutritional Symposium for the Health
         Professions, Richland Memorial Hospital, Columbia, South Carolina, April 7 and 8, 1981.

     8. "Inappropriate Sample Collection and Misuse of Serum Drug Assays", Annual Meeting of the American
         College of Clinical Pharmacy, Scottsdale, Arizona, June 26-28, 1981.

     9. *"Total Parenteral Nutrition in Cancer Chemotherapy; A Weapon or a Tool?" The American Society for
         Parenteral and Enteral Nutrition, Sixth Annual Clinical Congress, San Francisco, California, February 2-6,
         1982.

    10. "Influence of Rifampin on Quinidine and Digoxin", Annual Meeting of the American College of Clinical
        Pharmacy, Washington, D.C., July 10-13, 1983.

    11. "Analysis of Methods Employed in Identifying and Recruiting Study Subjects", North American Primary Care
        Research Group 12th Annual Meeting. Orlando, Florida, May 3-5, 1984.

    12. *"Drug Interactions with Digoxin and Digitoxin", Therapeutic Symposium: Farewell to the Foxglove", Fifth
        Annual Meeting of the American College of Clinical Pharmacy, San Diego, California, June 28, 1984.

    13. *"Selection and Monitoring of Digitalis Glycosides in Various Disease States", Annual Meeting of the
        American Society of Hospital Pharmacists, Reno, Nevada, June 4, 1985.

    14. "Practical Value of a New Serum Digitoxin Assay", Sixth Annual Meeting of the American College of Clinical
        Pharmacy, Orlando, Florida, July 8, 1985.

    15. "Digoxin vs. Digitoxin in the Treatment of Congestive Heart Failure", Sixth Annual Meeting of the American
        College of Clinical Pharmacy, Orlando, Florida, July 9, 1985.

    16. "Effect of Sucralfate on Plasma Warfarin Concentrations in Patients Requiring Chronic Warfarin Therapy",
        Sixth Annual Meeting of the American College of Clinical Pharmacy, Orlando, Florida, July 9, 1985.

    17. *"Step-Care Therapy of Hypertension; Point and Counter-point", Adult Medicine SIG, Annual Meeting,
        American Society of Hospital Pharmacists, Denver, Colorado, June 3, 1986.

    18. "Influence of Influenza Vaccine on Warfarin Therapy", Annual Meeting of the American College of Clinical
        Pharmacy, Chicago, Illinois, July 30, 1986.

    19. "Steady State Kinetics of R and S Warfarin in Different Age Groups", Annual Meeting of the American
        College of Clinical Pharmacy, Chicago, Illinois, July 30, 1986.

    20. "Response of Protein C and Protein S Inhibitors in Long-term Oral Anticoagulant Therapy". Eleventh
        Congress of the International Society on Thrombosis and Hemostasis, Brussels, Belgium, July 6-10, 1987.

    21. *"Clinical Comparison of Angiotensin Converting Enzyme Inhibitors", Adult Medicine SIG, American Society
        of Hospital Pharmacists Annual Meeting, San Francisco, California, June 6, 1988.

    22. "Digitoxin-like Immunoreactive Substance in Adults with Renal Insufficiency" Annual Meeting of the
        American College of Clinical Pharmacy, Philadelphia, Pennsylvania, July 26, 1988.




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   PRESENTATIONS (continued)
   Presentations at National Meetings (* Denotes invited presentations, continued)

    23. "Developing a Predictive Model for the Frequency of Monitoring Anticoagulation", Annual Meeting of the
        American College of Clinical Pharmacy, Philadelphia, Pennsylvania, July 26, 1988.

    24. *"Cardiovascular Complications of Antihypertensive Therapy", Annual Meeting of the American Academy of
        Occupational Medicine, San Antonio, Texas, October 26, 1988.

    25. "Success of First Generation Oral Hypoglycemic Agents in Patients with Type II Diabetes Mellitus Who Have
        Failed Therapy with a Second Generation Agent", North American Primary Care Research Group Annual
        Meeting, San Antonio, Texas, April 14, 1989.

    26. *"Hypertension: Matching Pathophysiology and Pharmacotherapy", Annual Meeting of the American College
        of Clinical Pharmacy, Kansas City, Missouri, August 9, 1989.

    27. Investigation of the Potential Interaction Between Warfarin and Ciprofloxacin in Chronically Anticoagulated
        Patients", American College of Clinical Pharmacy Annual Meeting, San Francisco, California, August 8, 1990.

    28. *"Hypertension: New Theories and New Therapies", Nurse Practitioners Association for Continuing
        Education, Annual Meeting, San Francisco, California, August 16, 1990.

    29. *"Verapamil: The Importance of Delivery Methods", Hypertension Collegium 1990, Laguna Nigel, Califormia,
        October 22, 1990.

    30. "Comparison of INR Measurements by Laboratory and Fingerstick Methods, Winter Forum, the American
        College of Clinical Pharmacy, February 11, 1991.

    31. *"Vasodilators in Heart Failure: Are ACE Inhibitors the Drugs of Choice ?", A Symposium on Heart Failure in
        the 1990s, the American Society of Hospital Pharmacists Mid-Year Clinical Meeting, December 12, 1991.

    32. *"New Agents for Cardiovascular Diseases - 1991", A Symposium on New Drugs of 1991, the Winter Forum
        Meeting of the American College of Clinical Pharmacy, February 12, 1992.

    33. *"The Impact of Treating Hypertension on Atherosclerosis: What We Have Learned From Clinical Trials", A
        Pre-Meeting Sumposium for the Annual Meeting of the American College of Clinical Pharmacy, Toronto,
        Canada, August, 1992.

    34. *"Warfarin Monitoring", Interchange Forum: Developments in Prophylactic Therapy for Venous
        Thromboembolic Disease, Dallas, Texas, November 13, 1992.

    35. *"Monitoring Warfarin Therapy: International Normalized Ratio", Clinical Update On Antithrombotic Therapy
        from the Third ACCP Consensus Conference, A Pre-Conference Symposium During the American Heart
        Association's Sixty-Fifth Scientific Sessions, New Orleans, Louisiana, November 14, 1992.

    36. * "The Future of Low Molecular Weight Heparins in the Prophylaxis of Venous Thromboembolism: A Focus
        on Orthopaedics" (served as program organizer and moderator), The American College of Clinical Pharmacy
        1993 Winter Practice and Research Forum, Ft. Lauderdale, Florida, February 7, 1993.

    37. *"The International Normalized Ratio", Choices in Antithrombotic Therapy, American College of General
        Practitioners Annual Meeting and Scientific Seminars, Orlando, Florida, March 21, 1993.

    38. *"Mechanism of Action of Warfarin and Its Implications" Second National Conference on Anticoagulant
        Therapy Sponsored by The Anticoagulation Forum, Monterey, California, April 23, 1993.

    39. *"Three Major Changes in Anticoagulation Guidelines: The INR, Atrial Fibrillation, and the New
        Conventional Range", National Institutes of Health - National Heart, Lung, and Blood Institute, Bethesda,
        Maryland, May 6, 1993.



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   PRESENTATIONS (continued)
   Presentations at National Meetings (* Denotes invited presentations, continued)

    40. *"A Comparative Pharmacological Profile of Low-Molecular-Weight Heaprin Versus Unfractionated Heparin.
        A Pre-Meeting Symposium for the Annual Meeting of the American Society of Hospital Pharmacy, Denver,
        Colorado, June 6, 1993.

    41. *”Clinical Pharmacy Education: Should We Build Beer Cans, Canoes, or Something Else ?” Canadian Clinical
        Pharmacy Group in association with the Annual Meeting of the American College of Clinical Pharmacy, Reno,
        Nevada, August 14, 1993.

    42. *“New Monitoring Issues with Chronic Anticoagulation”, Anticoagulation Seminar, Annual Meeting, The
        American Society of Hospital Pharmacists, Reno, Nevada, June 7, 1994.


    43. *“Current Standards for Fellowship Training are Not Appropriate” (point, counter point sessions), Annual
        Meeting, The American College of Clinical Pharmacy, St. Louis, Missouri, August 3, 1994.

    44. *“A Pharmacological Comparison of Heparin and Low Molecular Weight Heparins”, 67th Annual Scientific
        Meeting of the American Heart Association. Dallas, Texas, November 16, 1994.

    45. *“New Issues in Anticoagulation Monitoring”, ASHP Anticoagulation Traineeship Annual Seminar, Miami,
        Florida, December 2, 1994.

    46. *“Superiority of Fingerstick to Routine Laboratory PT Determinations”, Alternate Site Testing Conference of
        the College of American Pathologists and the Joint Commission of Health Care Accreditation. Arlington,
        Virginia, January 29-30, 1994.

    47. *“Anticoagulation Clinics vs. Routine Medical Care...Is One Better?”, National Anticoagulation Forum, Santa
        Fe, New Mexico, May 5, 1995.

    48. *“Efficacy of Low Molecular Weight Heparins in Deep Vein Thrombosis Prevention”, American Society of
        Health Systems Pharmacy Annual Meeting, Philadelphia, June 4, 1995.

    49. *“Cost Justification of Anticoagulation Clinics”, Health Care Finance Administration (HYCA), Baltimore,
        Maryland, July 11, 1995.

    50. *“Modern Standards of Anticoagulation Monitoring of Antithrombotic Therapy”, Annual Meeting of the
        National Medical Association, Atlanta, Georgia, August 1, 1995.

    51. *“Controversies with Conventional Range Anticoagulation: What Range is Right for Atrial Fibrillation and
        Prosthetic Valves?”, American College of Clinical Pharmacy Annual Meeting, Washington, D.C., August 8,
        1995.

    52. *“Pharmacology and Pharmacodynamics of Heparin and Low Molecular Weight Heparins”, American College
        of Clinical Pharmacy Annual Meeting, Washington, D.C., August 8, 1995.

    53. *“Anticipated Changes in the Antithrombotic Guidelines of the American College of Chest Physicians”,
        American College of Clinical Pharmacy Annual Meeting, Washington, D.C., August 8, 1995.

    54. *”Conventional Treatment of DVT: Old Drugs, New Twists”. University of Maryland School of Medicine
        Antithrombotic Seminar. Baltimore, Maryland, October 6-7, 1995.

    55. “Anticoagulation Therapy with Heparin and Warfarin” and “Case Studies in Anticoagulation” Florida Hospital
        Annual Seminar, Orlando, Florida, October 6, 1995.

    56. “Management of the Anticoagulated Patient in the Outpatient Setting”. Henry Ford Hospital Annual Pharmacy
        Seminar, Detroit, Michigan, October 21, 1995.



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   PRESENTATIONS (continued)
   Presentations at National Meetings (* Denotes invited presentations, continued)

    57. “Comparison of an Anticoagulation Clinic with Routine Medical Care”. 68th Scientific Sessions of the
        American Heart Association. Anaheim, California, November 15, 1995.

    58. *“Antithrombotic Therapy in Patients with Atrial Fibrillation and Prosthetic Heart Valves: A Contrarian’s
        Point of View” Tenth Annual Pharmacy Invitational Anticoagulation Symposium, Las Vegas, Nevada,
        December 2, 1995.

    59. *”Clinical Pharmacology of Heparin and Low Molecular Weight Heparins”. Midyear Clinical Meeting of the
        American Soceity of HealthSystems Pharmacists, Las Vegas, Nevada, December 4, 1995.

    60. *”Pharmacotherapy of Hypercoagulable States”, First Eberhard Mammen Endowed Conference, Wayne State
        University, Detroit, Michigan, September 27, 1996.

    61. *”Dosing Heparin and Warfarin in Acute Deep Vein Thrombosis and Pulmonary Embolus”. Thomas Jefferson
        University Annual Anticoagulation Conference, Philadelphia, October 23, 1996.


    62. *”Problems of Progress in Venous Thromboembolism” in the Symposium: Anticoagulation and Venous
        Thrombosis: Avoiding the New Hazards (also organized and moderated this symposium). American Society of
        Health-Systems Pharmacists Midyear Clinical Meeting, New Orleans, Louisiana, December 8, 1996

    63. *”Comparison of Fingerstick and Routine Laboratory Prothrombin Measurements”, Boehringer Mannheim
        Corporation National Sales Meeting, San Diego, California, March 12, 1997.

    64. *Speaker and co-chair for Rhone-Polenc-Rorer National Speakers Training Program on Low Molecular
        Weight Heparins. Orlando, Florida, June 20, 1997.

    65. “Evaluation of Patient Versus Professional Determined INR Value Utilizing the CoaguChek™ System 49th
        American Association of Clinical Chemistry Annual Meeting, Atlanta, Georgia, July 20 - 24, 1997.

    66. “Evaluation of Patient Ability to Perform INR Determinations Utilizing the CoaguChek™ System”. 49th
        American Association of Clinical Chemistry Annual Meeting, Atlanta, Georgia, July 20 - 24, 1997.

    67. *”Dosing Heparin and Warfarin in Acute Deep Vein Thrombosis and Pulmonary Embolus” and “Workshop On
        Outpatient Management of Deep Vein Thrombosis”, Thomas Jefferson University Annual Anticoagulation
        Conference, Philadelphia, November 1, 1997.

    68. *”Comparing Different Doses and Routes of Phytonadione for Reversing Excessive Anticoagulation”, Fifth
        American College of Chest Physicians Consensus Conference on Antithrombotic Therapy, Tucson, Arizona,
        April 19, 1998.

    69. *”Critical Controversies in Anticoagulation Management of Patients with Prosthetic Heart Valves”,
        Cardiothoracic Surgery Grand Rounds, Mayo Clinic, Rochester, Minnesota, August 26, 1998.

    70. *”Dosing Heparin and Warfarin in Acute Deep Vein Thrombosis and Pulmonary Embolus” and “Workshop On
        Outpatient Management of Deep Vein Thrombosis”, Thomas Jefferson University Annual Anticoagulation
        Conference, Philadelphia, September 25, 1998.

    71. *”Update and Critique of The Fifth American College of Chest Physicians Consensus Conference on
        Antithrombotic Therapy”, 5th Pharmacy Invitation Conference on Anticoagulation, Las Vegas Nevada,
        December 3 - 5, 1998.

    72. *”Controversies in Antithrombotic Therapy in Patients with Prosthetic Heart Valves”, Duke University
        Invitational Clinical Research Conference on Future Research in Prosthetic Heart Valves, Pinehurst, North
        Carolina, January 7 - 9, 1999.



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    73. *”Impact of an Anticoagulation Clinic on Patient Outcomes and Health Care Costs” and workshop on
        “Establishing an Anticoagulation Clinic”, A Lovenox Closed Consultants Meeting, Phoenix, Arizona, February
        11 - 14, 1999.

    74. “ Age Related Performance of Patient versus Professional Determined INR Value Utilizing the Coaguchek
        System”, Fifth National Conference on Anticoagulant Therapy, Vancouver, British Columbia, Canada, May
        13-15, 1999.

    75. *”Clinical Pharmacists Making a Difference”(final presentation) and “Workshops on Starting an
        Anticoagulation Clinic”, Cortex Seminar on Making a Difference in Cardiovascular Therapeutics, Orlando,
        Florida, May 23, 1999.

    76. *”Update on Anticoagulation Management”, International Pharmaceutical Federation (FIP) Annual Meeting,
        Barcelona, Spain, September 9, 1999.

    77. *”The Future: Possibilities for Clinical Pharmacy Practice in the Ambulatory Care Setting”. The American
        College of Clinical Pharmacy Annual Meeting, Kansas City, Missouri, October 25, 1999.

    78. *”Bridging Therapy with Low Molecular Weight Heparin”, Breakfast symposium at the Annual Meeting of the
        American Society of HealthSystem Pharmacists, Orlando, Florida, December 6, 1999.

    79. *“Anticoagulation Therapy in Patients with Prosthetic Heart Valves”, The American Society of Thoracic
        Surgeons Annual Meeting, Ft. Lauderdale, Florida, February 1, 2000.

    80. *“Anticoagulation Therapy in Patients with Prosthetic Heart Valves”, Breakfast symposium, The American
        College of Cardiology Annual Meeting, Anaheim, California, March 11, 2000.

    81. *”The Use of Low Dose Vitamin K to Stabilize INR Fluctuation During Warfarin Therapy”. The American
        College of Clinical Pharmacy Spring Practice and Research Forum, Monterey, California, April 3, 2000.

    82. *“Anticoagulation Therapy in Patients with Prosthetic Heart Valves”, The American College of Cardio-
        Thoracic Surgeons, Toronto, Canada, May 2, 2000.

    83. *”Controversies in Anticoagulation Management of Prosthetic Heart Valve Patients”, Thoracic Surgery
        Conference, Pinehurst, North Carolina, May 18-21, 2000.

    84. *”Antiplatelet Therapy in Stroke Prevention”, Annual Meeting of the American Society of Consultant
        Pharmacists, Boston, Massachusetts, November 3, 2000.

    85. “Periprocedure Management of Anticoagulation Therapy”, Annual Pre-Meeting Anticoagulation Symposium,
        American Society of Health System Pharmacists Midyear Meeting, Las Vegas, Nevada, December 2, 2000.

    86. “Bridge Therapy with Low Molecular Weight Heparins”, Low Molecular Weight Heparin Symposium, Las
        Vegas, Nevada, Dec. 3, 2000.

    87. “Controversies in Management of Oral Anticoagulation”, American Society of Health System Pharmacists
        Midyear Clinical Meeting, Las Vegas, Nevada, December 5, 2000.

    88. *”Hot Topics in Anticoagulation”, Annual University of Iowa Anticoagulation Symposium. October 13, 2001.

    89. *”Tales from the Legislative Front”, American College of Clinical Pharmacy Annual Meeting, Tampa, Florida.
        October 22, 2001.

    90. *”Treatment of Deep Vein Thrombosis”, Internal Medicine PRN Group, American College of Clinical
        Pharmacy Annual Meeting, Tampa, Florida. October 22, 2001.



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    91. *Co-Chair, “Update on Heparin and Low Molecular Weight Heparins” Aventis Consultants’ Meeting, San
        Antonio, Texas. November 9-10, 2001.

    92. *”Limitations of Traditional Anticoagulants”, Pre-Meeting Symposium, American Society of Health-System
        Pharmacist Mid-Year Clinical Meeting, New Orleans, Louisiana. December 3, 2001.

    93. *” Update on Anticoagulation”, Annual Anticoagulation Seminar, Harper Hopsital, Detroit, Michigan. March
        6, 2002.

    94. *”DVT Prophylaxis: Risk Stratification”, Pre-meeting Symposium, American College of Clinical Pharmacy
        Annual Meeting, Albuquerque, New Mexico. October 21, 2002.

    95. *”Clopidogrel as First Line Therapy for Secondary Prevention of Non-cardioembolic Stroke”. American
        College of Clinical Pharmacy Annual Meeting, Albuquerque, New Mexico. October 22, 2002.

    96. *”Outpatient Deep Vein Thrombosis Treatment”, University of Iowa Annual Anticoagulation Symposium,
        Iowa City, Iowa. October 26, 2002.

    97. *”Low Molecular Weight Heparin Use in Pregnancy and Prosthetic Heart Valve Patients”, Pre-Meeting
        Symposium, American Society of Health-System Pharmacists Mid-Year Clinical Meeting, Atlanta, Georgia.
        December 7, 2002.

    98. *”Limitations of Traditional Agents in DVT Prophylaxis in Orthopedic Surgery”, American Society of Health-
        System Pharmacists Mid-Year Clinical Meeting, Atlanta, Georgia. December 8, 2002.

    99. *”Clinic Management of Anticoagulation in Atrial Fibrillation and Prosthetic Heart Valve Patients”, American
        Society of Health-System Pharmacists Mid-Year Clinical Meeting, Atlanta, Georgia. December 9, 2002.

    100. *”Oral Anticoagulants and Antiplatelets in Prosthetic Heart Valve Patients”, Technology in Thoracic Surgery
         Annual Meeing, Miami, Florida, March 21, 2003.

    101. *”Anticoagulants and Antiplatelet Agent Use in Prosthetic Heart Valve Patients”. The European Heart Valve
         Society Biannual Meeting, Paris, France. June 28, 2003.

    102. *”Low Molecular Weight Bridge Therapy and Use in Pregnancy”. University of Iowa Annual Anticoagulation
         Symposium, Iowa City, Iowa. October 17, 2003.

    103. *”Low Molecular Weight Heparin Use in Cancer”, Pre-Meeting Symposium, American Society of Health-
         System Pharmacists Mid-Year Clinical Meeting, New Orleans, Louisianna. December 8, 2003.

    104. *”The American College of Chest Physicians Consensus Conference on Antithombotic Therapy – A Critique
         from the Inside and Out’, American College of Clinical Pharmacy and the European College of Clinical
         Pharmacy Joint Congress, Paris, France. April 29, 2004.

    105. *”Clinical Considerations of Anticoagulation Management”, Case Managers Annual Meeting, Nashville,
         Tennessee. June 17, 2004.

    106. *”The Future of Oral Anticoagulation”, The Univeristy of Iowa Annual Anticoagulation Symposium, Iowa
         City, Iowa. October 22, 2004.

    107. *”Was the FDA Correct Not to Approve Ximelagatran?” (a debate). American College of Clinical Pharmacy
         Annual Meeting, Dallas, Texas. October 25, 2004.

    108. *”Unfractionated Heparin Use and the American College of Chest Physicians Consensus Conference on
         Antithrombotic Therapy”. Pre-meeting Symposium, Mid-year Clinical Meeting, American Society of Health-
         System Pharmacists, Orlando, Florida. Dec. 5, 2004.


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    109. *Section Chair and Speaker, National Heart Lung and Blood Institute Conference on Herbal Supplements and
         Antithrombotic Therapy. Bethesda, Maryland. January 13-14, 2005.

    110. *”The History of Anticoagulation Clinic Development”, Pharmacy Invitation Conference on Antithrombotic
         Therapy (PICAT), Las Vegas, Nevada, December 3, 2005.


    111. *”The Use of Vitamin K in Oral Anticoagulation Management”, Pharmacy Invitation Conference on
         Antithrombotic Therapy (PICAT), Las Vegas, Nevada, December 3, 2005.

    112. *”Evidence Based Medicine and DVT Management”. Mid-Year Clinical Meeting of the American Society of
         Health-System Pharmacists, Las Vegas, Nevada. December 6, 2005.

    113. *”Should Aspirin be Combined with Direct Thrombin Inhibitors?”, Boehringer-Ingelheim International
         Advisory Board Meeting, Boston, Massachusetts. March 3, 2006.

    114. * “Life Lessons Learned by An Old Geezer; On Passion, Reason, Compassion, and Insight.”59 th Julius W.
         Sturmer Memorial Lecturer, Rho Chi Society, Philadelphia Collgege of Pharmacy, University of The Sciences
         in Philadelphia, Philadelphia, Pennsylvania. April 1, 2006.

    115. *“The Future of Oral Anticoagulation” The Sixth Annual Southwest Symposium on Thrombosis Hemostasis.
         Albuquerque, New Mexico, October 14, 2006.

    116. *“Dietary Supplement Use Among Anticoagulaiton Clinic Patients” (poster) Annual Meeting of the American
         College of Clinical Pharmacy, St. Louis, Missouri, October 28, 2006.

    117. “The Three Waves of Oral Anticoagulation Development” Boehringer-Ingelheim international advisory board
         meeting, Rome, Italy, December 1, 2006.

    118. “Current State of Oral Warfarin Management; The Good, The Bad, and The Ugly” Symposium on Genetic
         Testing and Warfarin Dosing, Chapel Hill, North Carolina, March 2, 2007.

    119. “The Future of Oral Anticoagulation” Henry Ford Hospital Annual Regional Symposium, Detroit, Michigan,
         April 25, 2007.

    120. Three “Grand Rounds” presentations at the University of Pittsburgh Medical Center, Pittsburgh, Pennsylvania,
         August 15, 2007:

                a.   A Look at Anticoagulation Recommendations from Inside and Out – Both Sides Now          (Judy
                     Collins); A Contrarian’s View (#1)
                b.   Case Discussions (Contrarian’s 2nd view)
                c.   A Contrarian’s Third View - The Clint Eastwood Approach to Anticoagulation

    121. “The Feasibility and Potential Value of Automated Online Anticoagulation Monitoring of Warfarin-treated
         Patients” [poster presentation] American College of Clinical Pharmacy Annual Meeting, Denver, Colorado,
         October 15, 2007

    122. Changing Paradigm in Anticoagulation; Will Heparins and Oral Anticoagulants Survive?" Co-chair of one
         session and presented “The Future of Oral Anticoagulants”, pre-meeting Symposium, American Society of
         Hematology Annual Meeting, Atlanta, Georgia, December 7, 2007.

    123. *The Future of Oral Anticoagulation”, Internal Medicine Grand Rounds, El Paso, Texas, March 11, 2008

    124. *”The Future of Oral Anticoagulation, American Pharmacists Association Annual Meeting, San Diego,
         California, March 17, 2008



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   PRESENTATIONS (continued)
   Presentations at National Meetings (* Denotes invited presentations, continued)

    125. *”Update on Anticoagulation”, College of Pharmacy Symposium, September 18, 2008, Gainesville, Florida

    126. *”Coming Advances in Oral Anticoagulation”, Keynote Speaker, the Annual Howard Ansell Symposium, the
         University of Georgia College of Pharmacy, Athens, GA, September 19, 2011.

    127. “Using Technology to Improve the Safety and Efficacy of Oral Anticoagulatin”, Agency for Health Quality
         and Research meeting on Information Technology to Improve Safety in Medicine, Washington, D.C., October
         3, 2008.

    128. *”Interactions with Industry”, The American College of Clinical Pharmacy Meeting, Louisville, KY, October
         20, 2008.

    129. *”Financial Viability of Anticoagulation Clinics”, Anticoagulation Forum Meeting, San Diego, CA, March 23,
         2009.

    130. *”Anticoagulation in Transition: Heparin and Oral Agents”, Symposium at the International Society of
         Thrombosis and Haemostasis, Boston, MA, July 15, 2009

    131. “Progress Report on the GSK Distinguished Scholar in Thrombosis Award, Annual Meeting of the American
         College of Chest Physicians, San Diego, CA, Nov 4, 2009

    132. Forcade NA, Frei CR, Walker MB, Bussey-Smith KL, Daniels KR, Bussey HI. “INR Self-Testing in Warfarin
         Anticoagulation Improves Patient Satisfaction and Clinic Efficiency while Reducing Patient Costs.” American
         Heart Association Conference on Quality of Care and Outcomes Research in Cardiovascular Disease and
         Stroke in 2010, Washington, DC, May 20, 2010.

    133. Bussey HI, Walker MB, Bussey-Smith KL, Frei CR. “Superior Oral Anticoagulation Management with Self-
         Testing and Automated Online Management; An Interim Analysis.” American Heart Association Conference
         on Quality of Care and Outcomes Research in Cardiovascular Disease and Stroke in 2010. Washington, DC,
         May 21, 2010

    134. *”Transforming oral anticoagulation by combining international normalized ratio (INR) self testing and online
         automated management”, The Anticoagulation Forum Meeting, Boston, MA, May 5, 2011

    135. *”Recent Advances in Oral Anticoagulation”, Annual Family Medicine Seminar, Waterloo, IA, May 13, 2011

    136. *”Advances in Oral Anticoagulation”, American Heart Association Dallas County Caruth Symposium on
         Acute Myocardial Infarction Management, Dallas, TX, June 4, 2011.


   Selected Presentations at State or Local Meetings

   The following is a list of selected presentations from 1995 to the present. A list of presentations from before 1995
   and/or a complete list for any period is available upon request.

   1995

   “Common Problems with Anticoagulation”, Annual Cardiology Seminar of the Heart Institute of South Texas, San
   Antonio, Texas, February 18, 1995.

   “Update on Hypertension”, Teleconference Program of the University of Texas Health Sciences Center at San
   Antonio, Texas, March 9, 1995

   “New Issues with Anticoagulation”, Internal Medicine Grand Rounds, Texas Tech Health Sciences Center, Amarillo,
   Texas, March 28, 1995.



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   PRESENTATIONS (continued)
   Selected Presentations at State or Local Meetings (continued)

   “Optimal Management of Deep Vein Thrombosis” Grand Rounds, The Shock Trauma Center of the University of
   Maryland, Baltimore, Maryland, April 7, 1995.

   “Major Changes in Anticoagulation Guidelines”, Cardiology Grand Rounds, The University of Alabama at
   Birmingham, Birmingham, Alabama, May 9, 1995.

   “Heparin and Low Molecular Weight Heparins”. Austin Area Society of HealthSystems Pharmacists, Austin, Texas,
   September 12, 1995

   “Monitoring Warfarin Therapy - Interpreting the INR and Critical Analysis of Current Guidelines” Annual Meeting
   of the California Society of HealthSystems Pharmacy, Palm Springs, California, October 28, 1995.

   “Dosing Heparin and Warfarin in Acute DVT/PE” and “Workshop on Longterm Management of Anticoagulation”.
   Anticoagulation Issues in Primary Care, Annual Conference of the Department of Medicine, Thomas Jefferson
   University Medical College, Philadelphia, Pennsylvania, November 30-December 1, 1995.


   1996

   “New Advances in Anticoagulation”, El Paso Society of Health-Systems Pharmacists, El Paso, Texas, February 21,
   1996.

   “Differentiating Low Molecular Weight Heparins in the Management of Venous Thrombosis and Stroke”, Owens
   Health Care Seminar, Copper Mountain, Colorado, March 12, 1996.

   “Advances in Anticoagulation”, Internal Medicine Conference, Methodist Hospital, San Antonio, Texas, March 20,
   1996.

   “Update on Hypertension”, Wellness Program, The University of Texas Health Sciences Center at San Antonio,
   Texas, March 27, 1996.

   “Update on Hypertension”, Medical Society, Hannibal, Missouri, April 16, 1996.

   “Deep Vein Thrombosis Prophylaxis”, Hospital Pharmacists, Phoeniz, Arizona, April 24, 1996.

   “Low Molecular Weight Heparins”, Pharmacy Grand Rounds, Brigham Women’s Hospital, Boston, Massachusetts,
   May 8, 1996.

   “Tailored Antithrombotic Therapy for Stroke Prevention in Patients with Atrial Fibrillation and Prosthetic Valves”,
   Joint Neurology and Cardiology Conference, Texas Neurosciences Institute, San Antonio, Texas, May 17, 1996.

   “New Guidelines on Antithrombotic Management”, Annual Meeting of the Oregon Society of Hospital Pharmacists,
   Stevenson, Washington, May 18, 1996.

   “Pharmacoeconomics of an Anticoagulation Clinic”, Annual Meeting of the Oregon Society of Hospital Pharmacists,
   Stevenson, Washington, May 18, 1996.

   “Warfarin Use and Anticoagulation Clinics”, Methodist Hospital Staff Conference, Lubbock, Texas, May 22, 1996.

   ”Current Concepts in Anticoagulation Therapy”, City of Hope Annual Seminar on Rational Therapeutics, Los
   Angeles, California, June 8, 1996.

   “Update on Anticoagulation”, Annual Meeting of the Georgia Pharmaceutical Association, Savannah, Georgia, June
   15, 1996.




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   PRESENTATIONS (continued)
   Selected Presentations at State or Local Meetings (continued)

   “Warfarin Use and Value of Anticoagulation Clinics”, Texas Pharmaceutical Association Annual Meeting, Dallas,
   Texas, June 20, 1996.

   “Low Molecular Weight Heparins”, New York City Hospital and Cornell Medical Center, New York, New York,
   June 27, 1996.

   “New ACCP Antithrombotic Guidelines”, Panhandle Society of Health-Systems Pharmacists, Amarillo, Texas, July
   11, 1996.

   “New Advances in Warfarin Therapy”, Pharmacy Conference, Ohio State University, Columbus, Ohio, July 17,
   1996.

   “Low Molecular Weight Heparins”, Pharmacy Grand Rounds, Memorial Sloan Kettering Medical Center, New
   York, New York, September 26, 1996.

   “Low Molecular Weight Heparins”, Northern Virginia Society of Hospital Pharmacists, Tysons Corner, October 23,
   1996.

   “Low Molecular Weight Heparins”, George Washington University Hospitals, Washington, D.C., and Fairfax
   Hospital, Fairfax, Virginia, October 24, 1996.

   1997

   “Value of Anticoagulation Clinics in Chronic Patient Management”, JFK Memorial Hospital, Camden, New Jersey,
   October 23, 1997.

   *”Update on Low Molecular Weight Heparins”, Annual Meeting of the Oklahoma Society of Health Systems
   Pharmacists, Oklahoma City, Oklahoma, October 31, 1997.

   *”Interactive Workshop on Anticoagulation”, Annual Meeting of the New Mexico Society of Health Systems
   Pharmacists, Ruidoso, New Mexico, February 21, 1997.

   *”Low Molecular Weight Heparins in the Treatment of Deep Vein Thrombosis”, Medicine Grand Rounds,
   University of Texas Health Science Center at North Texas, Ft. Worth, Texas, April 2, 1997.

   *”Advantages and Pitfalls of an Anticoagulation Clinic”, Annual Meeting of the Louisiana Society of Health
   Systems Pharmacists, New Orleans, Louisiana, April 12, 1997.

   *”The Pharmacist’s Role in DVT Prevention”, Texas Pharmaceutical Association Annual Meeting, Austin, Texas,
   April 14, 1997.

   *“Workshop on DVT Management: A Workshop”, Owen Health Care Regional Educational Seminar, San Antonio,
   Texas, June 11, 1997.

   *“Update on Low Molecular Weight Heparins”, Northeast Florida Society of Health Systems Pharmacists,
   Jacksonville, Florida, July 17, 1997.

   *“Controversies with Anticoagulation in Patients with Prosthetic Heart Valves”, Sulzer Carbomedics Annual
   Industrial Seminar, Austin, Texas, October 8, 1997.

   1998

   *“Update on Low Molecular Weight Heparins”, Louisiana Society of Health-Systems Pharmacists Annual Meeting,
   New Orleans, Louisiana, February 11, 1998.




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   PRESENTATIONS (continued)

   Selected Presentations at State or Local Meetings (continued)

   *“Advances in Managing Chronic Anticoagulation”, Michigan Pharmaceutical Association Annual Meeting,
   Dearborn, Michigan, February 22, 1998.

   *“Fingerstick Technology and Anticoagulation Clinics”, The Watson Clinic, Lakeland, Florida, March 10, 1998.

   *“New Uses of Low Molecular Weight Heparins”, Panhandle Society of Health-Systems Pharmacists, Amarillo,
   Texas, March 17, 1998.

   *“Update on Heparin and Low Molecular Weight Heparins”, Metroplex Society of Health-Systems Pharmacists,
   Dallas Texas, June 9, 1998.

   *“New Uses of Low Molecular Weight Heparins”, Louisiana Society of Health-Systems Pharmacists-Central
   Louisiana Chapter, Baton Rouge, Louisiana, June 10, 1998.

   *“Deep Vein Thrombosis Risk and Prophylaxis”, “Effect of Anticoagulation Clinics on Patient Outcomes and Health
   Care Costs”, “Challenging Cases of Anticoagulation”. (two 2-hr lectures and one 2-hr interactive case discussion
   session), Montana State Pharmaceutical Association Annual Meeting, Billings, Montana, June 27, 1998.

   *“Advantages of Low Molecular Weight Heparins and Heparinoids”, Florida Society of Health-Systems
   Pharmacists, Orlando, Florida, August 7, 1998.

   *”Preliminary Update on the New Guidelines from American College of Chest Physicians Consensus Conference on
   Antithrombotic Therapy. Virginia Society of HealthSystem Pharmacists Annual Seminar, Norfolk, Virginia,
   September 19, 1998.

   *”Anticoagulation Clinic Monitoring”, New Mexico Society of HealthSystem Pharmacists Annual Seminar,
   Albuquerque, New Mexico, October 9, 1998.

   *”Critical Controversies in Antithrombotic Therapy for Patients with Prosthetic Heart Valves”, Delaware Chapter of
   the American Heart Association Seminar, Newark, Delaware, October 14, 1998.

   *”Update on Low Molecular Weight Heparins”, El Paso Society of HealthSystems Pharmacists, El Paso, Texas,
   October 16, 1998.

   *”Impact of an Anticoagulation Clinic on Patient Outcomes and Health Care Costs”, University of Texas Border
   Health Symposium, South Padre Island, Texas, October 28, 1998.

   1999

   *”Importance of an Anticoagulation Management System”, Anticoagulation in the Year 2000 Conference, Boston,
   Massachusetts, January 15, 1999.

   *”Update on Low Molecular Weight Heparins”, Dallas-Ft. Worth Chapter of Case Managers of America, Dallas,
   Texas, January 19, 1999.

   *”A Comparison of the Clinical Roles of Unfractionated Heparin and Low Molecular Weight Heparins”, Texas
   Oncology Pharmacy Service, Dallas, Texas, January 26, 1999.

   *”Considerations in Establishing an Anticoagulation Clinic in the Private Sector”, Parkland Hospital, Dallas, Texas,
   January 26, 1999.

   *”Critical Controversies in the Management of Antithrombotic Therapy of Prosthetic Heart Valve Patients”
   presented to the medical staff at:
            1. Washington Hospital Center, Washington, D.C., February 19, 1999.
            2. The Heart Institute, Towson, Maryland, February 19, 1999.


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   PRESENTATIONS (continued)

   Selected Presentations at State or Local Meetings (continued)

           3. Annual Medicine Seminar, Walter Reed Army Medical Center, February 19, 1999.

   *”Tips on Managing Anticoagulation Therapy”, Annual Family Practice Update, The University of Texas Health
   Science Center, San Antonio, Texas, March 20, 1999.

   *”Update on Heparin, Low Molecular Weight Heparins, and Heparinoids”, Medical Staff Conference, Mission,
   Texas, April 21, 1999.

   *”A Review of the Basics in Anticoagulation Managemnt”, Annual Seminar of the Western Michigan Society of
   HeatlhSystems Pharmacists, Grand Rapids, Michigan, May 5, 1999.

   *”Critical Controversies in Antithrombotic Management of Prosthetic Heart Valve Patients”, Cardio-thoracic
   Surgery Conference, Stoney Brook Medical Center, Long Island, New York, May 19, 1999.

   *”Update on Heparin and Low Molecular Weight Heparins with a Focus on DVT Treatment”, Local Hospital
   Pharmacists Organization, Odessa, Texas, May 25, 1999.

   *”Changes and Controversies in the New Guidelines from the American College of Chest Physicians Consensus
   Conference on Antithrombotic Therapy”, New Drug Update Annual Seminar, Department of Family Medicine,
   Medical University of South Carolina, Charleston, South Carolina, May 28, 1999.

   *”Advances in Low Molecular Weight Heparin Therapy and the Management of Heparin Induced
   Thrombocytopenia”. Montana Society of HealthSystem Pharmacists Annual Meeting, West Yellowstone, Montana,
   October 3, 1999.

   *” Problems with Monitoring Heparin and Advances in Low Molecular Weight Heparin Therapy”, Hematology
   Grand rounds, Wilford Hall U.S. Air Force Hospital, San Antonio, Texas, October 13, 1999.

   *”Key Issues in Anticoagulation Management”, TheGovernor’s Council on the Elderly, Baton Rouge, Louisiana,
   November 4, 1999.

   2000

   *”Controversies in Anticoagulation Mangement”, Strong Memorial Hospital, Rochester, New York. January 19,
   2000.

   *”Update on Low Molecular Weight Heparin Use”, Family Practice Grand Rounds, Spohn Memorial Hospital,
   Corpus Christi, Texas, February 22, 2000.

   *”Reimbursement for Clinical Pharmacy Services”, The Annual Meeting of the Texas Society of HealthSystem
   Pharmacists, San Antonio, Texas, April 1, 2000.

   *”Anticoagulation Clinic vs. Usual Medical Care”, The Dean’s Council and Pharmacy Foundation, College of
   Pharmacy, The University of Texas at Austin, Austin, Texas. April 7, 2000.

   *”Advances in Low Molecular Weight Heparin Therapy”, Medical Society, Loredo, Texas, July 19, 2000.

   *”Update on Low Molecular Weight Heparin Use”, Pharmacy Association, San Angelo, Texas, November 9, 2000.

   2001

   *“Advances in Anticoagulation”, Grand Rounds, Odessa, Texas, January 17, 2001.

   *”Role of Low Molecular Weight Heparins” Medical Staff Conference, Abilene, Texas. February 20, 2001.



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   PRESENTATIONS (continued)

   Selected Presentations at State or Local Meetings (continued)

   *”Controversies in Antithrombotic Therapy of Patients with Prosthetic Heart Valves”. Annual Meeting of the Florida
   Society of Cardiothoracic and Cardiovascular Surgeons, Turnberry Isle, Florida, Feb. 25, 2001.

   *”Anticoagulation Clinics; Bridging the Past to the Future”, Annual Meeting of the Pennsylvania Society of Health
   System Pharmacists, Harrisburg, Pennsylvania, March 16, 2001.

   *”Controversies with Low Molecular Weight Heparin”. Pharmacy Organization, Dallas, Texas. May 5, 2001.

   * “Current Trends in Anticoagulation Therapy”. Oregon Society of Health System Pharmacists Annual Meeting.
   Portland, Oregon, May 10, 2001.

   *“Clinical Practice and Research in an Academic Setting”, College of Pharmacy, Oregon State Health Sciences
   Center, Portland, Oregon, May 10, 2001.

   *“Bridge Therapy with Low Molecular Weight Heparins”, OakBrook, Illinois, Sept. 8, 2001.

   *”From Clinical Practice to Anticoagulation Research to Political Activism; The Yogi Bera Approach”. Guest
   Speaker, College of Pharmacy, University of Pittsburgh, Pittsburgh, Pennsylvania, September 11, 2001

   *”Update on Anticoagulation Therapy”, Annual Post-Graduate Seminar, University of Texas at Austin, September
   15, 2001.

   *”Low Molecular Weight Heparin”, Washington, D.C., October 6, 2001.

   *”Epidemiology and Risk of Venous Thromboembolism in Orthopedic Surgery”, West Palm Beach, Florida.
   October 27, 2001.

   2002

   *”Clinic and Outpatient Treatment of Deep Vein Thrombosis”
            Local Medical Staff, Mama Sitas Restaurant, San Marcos, Texas. March 14, 2002.
            Hematology and Oncology of South Texas, Gruene, Texas. March 21, 2002.

   *”Atrial Fibrillation and Anticoagulation”. Grand Rounds, Department of Family Practice, Harrisburg,
   Pennsylvania. April 25, 2002.

   *”New Antithrombotic Alternatives”, Cardiology and Cardiothoracic Surgeons Conference, University of Arkansas
   Medical School, Little Rock, Arkansas. May 15, 2002.

   *”New Considerations in Anticoagulation”, Medicine Grand Rounds, Presbyterian Hospital, Dallas, Texas. June 26,
   2002.

   *”Oral Anticoagulants and Oral Direct Thrombin Inhibitors”, Grand Rounds, Texas Heart Institute, St. Luke’s
   Hospital, Houston, Texas. June 27, 2002.

   *”Pre- and Post-Op DVT Management”
            Local Pharmacy Society, El Paso, Texas. August 21, 2002.
            Anesthesiology and Surgery Conference, El Paso, Texas. August 22, 2002

   *” New Trends in Anticoagulation”
           Texas Tech Grand Rounds, El Paso, Texas. August 22, 2002.
           Local Medical Staff, Las Cruces, New Mexico. August 22, 2002.

   *”New Approaches and Developments in Anticoagulation Therapy”, ACCP Chapter, Dallas, Texas. September 18,
   2002.


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   PRESENTATIONS (continued)

   Selected Presentations at State or Local Meetings (continued)

   *”Update on Low Molecular Weight Heparin Use”
           Area Anticoagulation Specialists, Portland, Oregon, November 20, 2002
           Area Anticoagulation Specialists, Corvalis, Oregon, November 21, 2002

   2003

   *”New Issues with Low Molecular Weight Heparin Use”,
           Medical Staff Meeting, Methodist Hospital, San Antonio, Texas. January 15, 2003.
           Local Medical Staff, Austin, Texas. February 5, 2003.

   *The Robert G. Leonard Memorial Lecture. “The Yogi Berra Approach: How to Succeed in Research Without
   Doing Research”, Texas Society of Health-System Pharmacists Annual Meeting, Arlington, Texas. April 4, 2003

   *”Monitoring Low Molecular Weight Heparin; Use of Anti-Xa Measurement”, Providence Hospital, El Paso, Texas.
   June 3, 2003.

   *”Low Molecular Weight Heparin Use in the Medically Ill”, Texas Pharmacy Association Annual Meeting,
   Galveston, Texas. July 18, 2003.

   *”Deep Vein Prophylaxis”, Grand Rounds, Midland, Texas. July 23, 2003.

   *”Review of The Basics; Unfractionated Heparin and Warfarin”, Annual Symposium, Arnold & Marie Schwartz
   College of Pharmacy, Long Island, New York. October 5, 2003.

   2004

   *”Oral Anticoagulation”
           Local Anticoagulation Specialists, San Antonio, Texas. April 21, 2004.
           Local Anticoagulation Specialists, Houston, Texas. May 5, 2004.
           Local Anticoagulation Specialists, Houston, Texas. June 16, 2004.
           Local Anticoagulation Specialists, San Antonio, Texas. July 8, 2004.

   *”Low Molecular Weight Heparins”. Kinder HealthCare, Louisville, Kentucky. May 13, 2004.

   2005

   *”The American College of Chest Physicians Consensus Conference on Antithrombotic Therapy From the Inside
   and Out”
           Northern Oregon Chapter of ASHP, Portland, Oregon. January 18, 2005.
           Northwest Anticoagulation Coalition – northern chapter, February 15, 2005.
           Northwest Anticoagulation Coalition – southern chapter, February 16, 2005.

   *”New Horizons in Anticoagulation Management”, Phoenix Anticoagulation Consortium, Phoenix, Arizona, October
   13, 2005.

   2006

   *”Prophylaxis of Deep Vein Thrombosis”
           Catholc HealthCare Sysems, Cincinatti, Ohio. June 16, 2006.
           Orange County Society of Health-System Pharmacists, New Port Beach, California. July 11, 2006.

   [Stopped listing State and Local Presentations in 2006]




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   RESEARCH AND GRANTS
   Completed
   1. 1978           "Utilization of Serum Drug Levels in a 600-Bed Community Hospital"
                     Principal Investigator:       Henry I. Bussey
                     Co-Investigator:              Eric W. Hoffman
                     Duration:                     4 weeks

   2. 1979-1980      "Changes in Serum Drug Level Utilization Associated with the Implementation of
                     Restricted Clinical Pharmacy Services"
                     Principal Investigator:       Henry I. Bussey
                     Co-Investigator:              Eric W. Hoffman
                     Duration:                     4 weeks

   3. 1981           "Views of Medical Educators on Doctor of Pharmacy Training"
                     Principal Investigator:      Henry I. Bussey
                     Co-Investigators:            Thomas House and David Keisler
                     Funding:                     Pharmaceutical Company, $200

   4. 1982-1983      "Digoxin vs. Digitoxin in the Treatment of Congestive Heart Failure"
                     Principal Investigator:        Henry I. Bussey
                     Co-Investigators:              David Hawkins, J.J. Gaspard
                     Duration:                      Approximately six months
                     Amount:                        $4,980 from University Research Institute (URI) Grant

   5. 1984           "Warfarin-Sucralfate Interaction"
                     Principal Investigator:        Robert L. Talbert
                     Co-Investigators:              P Tabor, HI Bussey and M Crawford
                     Amount:                       $39,995 by Marion Labs

   6. 1984           "Use of a Personal Computer to Expand the Teaching and Research Functions of
                     a Primary Care Clinic"
                     Principal Investigator:       Henry I. Bussey
                     Amount:                       $4,000 in equipment from IBM Corporation
                                                   "Quest" Project
   7. 1985           Professional Development Grant
                     Source:                      Eil Lilly and Company
                     Amount:                      $500

   8. 1985           Evaluation of a New Digitoxin Assay
                     Principal Investigator:       Henry I. Bussey
                     Co-Investigators:             DW Hawkins, P Wang, WA Watson
                     Amount:                       $3,000 in Services, Abbott Diagnostics
   9. 1985           "Effect of Ageing on Metabolism of the Isomers of Warfarin"
                     Principal Investigator:       Robert L. Talbert
                     Co-Investigators:             C Dalmady-Israel, HI Bussey and TM Ludden

   10. 1985          "An Evaluation of the Flu Vaccine-Warfarin Interaction"
                     Principal Investigator:       Henry I. Bussey
                     Co-Investigator:              Judy Saklad
                     Amount:                       $1,000 Parke Davis, $500 Wyeth
   11. 1985          "Establishing a Drug Information Service in a Family Health Center"
                     Principal Investigator:        Henry I. Bussey
                     Amount:                        $1,000, Ciba-Geigy


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   RESEARCH AND GRANTS (continued)

   Completed (continued)


   12. 1985                "Developing a Predictive Model for Frequency of Monitoring Anticoagulation
                           Patients"
                           Principal Investigator:      Henry I. Bussey
                           Co-Investigators:            Raylene Rospond, Christine Quandt
   13. 1986                "A Multicenter Trial of Orgatein"
                           Principal Investigator:       I. Jon Russell
                           Co-Investigator:              Henry I. Bussey
                           Amount:                       $33,000 by DDI Pharmaceuticals

   14. 1986                "Digitoxin-like Immunoreactive Substances in Patients with Normal and Reduced
                           Renal Function"
                           Principal Investigator:       Henry I. Bussey
                           Co-Investigators:             Karl Cremer, Bruce Mueller, Dan Casto,
                                                         N. Kathryn Lowder
                           Amount:                       $2,000 in Equipment and Supplies
   15. 1986                "Survey of ACCP Membership Views on the Entry-level Degree for Pharmacy"
                           Principal Investigator:    Henry I. Bussey
                           Co-Investigator:           Thomas J. Comstock, Thomas Foster,
                                                      R. Keith Campbell, David P. Elliott, Jean Nappi

   16. 1987                "Response of Protein C and Protein S Inhibitors in Long-term Oral Anticoagulant
                           Therapy"
                           Principal Investigator:       M.M. Montiel
                           Co-Investigator:              Henry I. Bussey
                           Status:                       Funded with discretionary funds (Dr. Montiel)

   17. 1987                "Multifactorial Study to Determine the Dose Response Characteristics when
                           Diltiazem SR is Combined with Hydrochlorothiazide"
                           Principal Investigators:       Henry I. Bussey and Andrew K. Diehl
                           Co-Investigators:              N. Kathryn Lowder
                           Amount:                        $33,200 Marion Laboratories, Inc.

   18. 1987                "Randomized, Double-blind, Placebo-controlled Trial of Captopril and Cilazapril in
                           Congestive Heart Failure"
                           Principal Investigators:     Henry I. Bussey and Richard Bauer
                           Co-Investigator:             Kathryn Lowder, Walter Calmbach, Karl Cremer, Robert
                                                        Talbert
                           Amount:                      $56,105 by Hoffman-LaRoche

   19. 1987                "Extended Long-term Treatment with Cilazapril in Patients with Chronic
                           Congestive Heart Failure"
                           Principal Investigators:    Henry I. Bussey and Richard Bauer
                           Co-Investigator:            N. Kathryn Lowder,
                           Amount:                     $23,940 Hoffman-LaRoche

   20. 1987                "Randomized, Double-Blind, Placebo Controlled Trial of Low Dose Fosinopril
                           Sodium in Mild to Moderate Essential Hypertension."
                           Principal Investigators:     Henry I. Bussey and Andrew K. Diehl
                           Co-Investigator:             N. Kathryn Lowder
                           Amount:                      $56,028 Squibb Institute for Medical Research

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   RESEARCH AND GRANTS (continued)

   Completed (continued)

   21. 1988                "Safety and Efficacy of First Generation Oral Hypoglycemic Agents in Diabetics
                           Who Have Failed Glipizide Therapy:
                           Principal Investigator:         Henry I. Bussey
                           Co-Investigators:               Theresa Bianco, N. Kathryn Lowder

   22. 1988                "Evaluation of Diltiazem HCL SR/Hydrochlorothiazide vs. Diltiazem SR vs.
                           Hydrochlorothiazide vs. Placebo in Mild to Moderate Essential Hypertension
                           Principal Investigator:       Henry I. Bussey
                           Co-Investigators:             N. Kathryn Lowder, Theresa Bianco, Andrew Diehl
                           Amount:                       $56,960 Marion Laboratories

   23. 1988                "Double-blind Parallel Dose-response Study of Nicardipine Hydrochloride
                           Sustained Release Versus Placebo in Patients with Stable Angina Pectoris"
                           Principal Investigators:      Henry I. Bussey and Gregory Freeman
                           Co-Investigators:             N. Kathryn Lowder, Theresa Bianco, Andrew K. Diehl,
                           Richard Bauer
                           Amount:                       $34,526 Syntex Research Institute of Clinical Medicine

   24. 1988                "Open-label Safety Evaluation of Sustained Release Nicardipine Hydrochloride in
                           Long-term Treatment of Chronic Stable Angina Pectoris"
                           Principal Investigator:       Henry I. Bussey and Richard Bauer
                           Co-Investigators:             N. Kathryn Lowder, Theresa Bianco, Andrew K. Diehl,
                           Richard Bauer
                           Amount:                       $7,000 Syntex Research Institute of Clinical Medicine

   25. 1988                "Effect of Marine Fish Oils on the Anticoagulation Status of Patients on Chronic
                           Warfarin Therapy"
                           Principal Investigators:        N. Kathryn Lowder , T.M. Bianco, and H. I. Bussey
                           Co-Investigator:                Richard Bauer
                           Amount:                         $10,600 DuPont Pharmaceuticals, Inc.

   26. 1989                "The Effects of Isradipine, Enalapril, and Atenolol on the Quality of Life in the
                           Elderly Female Hypertensive"
                           Principal Investigator:         Insung Kim
                           Co-investigators:               H.I. Bussey, W. D. Linn, T.M. Bianco, H. Perkins
                           Amount:                         $51,100 Glaxo, Inc.

   27. 1990                "Investigation of the Potential Interaction Between Warfarin and Ciporfloxacin in
                           Chronically Anticoagulated Patients"
                           Principal Investigator:          H. I. Bussey
                           Co-Investigators:                T.M. Bianco and R. Bauer
                           Amount:                          $19,500 ACCP-Genentech Fellowship Award
                                                              $8,000 (cash and services) Miles, Inc.
                                                              $1,300 (equipment) DuPont, Inc.
   28. 1991                "A Survey of Thromboplastin Sensitivity in Teaching and Community Hospitals"
                           Principal Investigator:      H. I. Bussey
                           Co-Investigators:            Rex W Force, T.M. Bianco, A. D. Leonard
                           Amount:                      $500 DuPont Pharmaceuticals

   29. 1994                “Comparison of “Finger Stick” and Routine Laboratory Determination of Prothromtin
                           Time in Anticoagulated Patients”
                           Principal Investigator:       Henry I. Bussey



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   RESEARCH AND GRANTS (continued)

   Completed (continued)

                           Co-Investigators:             Elaine Chiquette, Theresa M. Bianco, Kathryn Lowder-
                                                         Bender, William D. Linn, Lisa Farnett, Maura Kraynak,
                                                         Gary M. Clark
                           Amount:                       $3,000

   30. 1994 - 1996         “Coumadin and Aspirin Reinfarction Trial” (Private practice site)
                           Principal Investigator       Roger M. Lyons
                           Co-Investigators             Henry I. Bussey, Elaine Chiquette, Robert Schnitzler
                                                        Amount:       $15,000

   31. 1994 - 1996         “Coumadin and Aspirin Reinfarction Trial” (University-based site)
                           Principal Investigator       Henry I. Bussey
                           Co-Investigators             Elaine Chiquette, Lori Jones, Andrew K Diehl, Sumanth
                                                        D. Prabhu
                           Amount:                      $15,000

   32. 1994 - 1996         “Effect of Niacin on Glycemic Control When Used to Treat Hyperlipidemia in
                           Patients with Diabetes
                           Principal Investigator:       Henry I. Bussey and Elaine Chiquette
                           Co-Investigators:             Andrew K. Diehl and Marc Coaquette
                           Amount                        $20,000 National Pharmacy Cholesterol Council

   33. 1995 - 1996         “Comparison of an Anticoagulation Clinic with Routine Medical Care”
                           Principal Investigator       Elaine Chiquette
                           Co-Investigators             Henry I. Bussey and Mary G. Amato
                           Amount                       approximately $10,000 in equipment

   34. 1995 - 1996         “A Retrospective Evaluation of Vitamin K Reversal of Warfarin Anticoagulation”
                           Principal Investigator        Anna Whitling
                           Co-Investigators              Elaine Chiquette, Henry I. Bussey, and Roger M. Lyons

   35. 1996                “An Evaluation of Patient Self-Testing with the CoaguChek”
                           Principal Investigator         Henry I. Bussey
                           Co-Investigator                Elaine Chiquette and Roger Lyons
                           Amount                         $28,000 Boehringer Mannheim Corporation

   36. 1997                “A Disease-Based Audit of Deep Vein Prophylaxis in High Risk Surgical Patients”
                           Principal Investigators      Henry I. Bussey and Roger M. Lyons
                           Amount:                      $12,000 Harrison, Wilson, and Associates, Inc.

   37. 1998                “Development of an Anticoagulation Training Program in a Private Practice Setting”
                           Principal Investigators      Henry I. Bussey and Roger M. Lyons
                           Amount                       $25,000 DuPont Pharma., Inc.

   38. 1999                “A Double-Blind, Randomized Comparison of BMS Warfarin and Coumadin on INR
                           Stability in Patients with Atrial Fibrillation”
                           Principal Investigators           Henry I. Bussey and Roger M. Lyons
                           Co-Investigator                   Lisa Farnett
                           Amount                            $25,000, University Hospital Consortium




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   RESEARCH AND GRANTS (continued)

   Completed (continued)

   39. 1999                “A Double-Blind, Randomized, Placebo-Controlled Trial of the Effects of
                           Acetaminophen on the International Normalized Ratio in Patients on Stable Chronic
                           Anticoagulation”
                           Principal Investigators     Henry I. Bussey and Roger M. Lyons
                           Sub-Investigator            Lisa Farnett
                           Amount                      $74,000 McNeil Consumer Products, Inc.

   40. 1999                “A Pilot Trial of an Anticoagulation Training Program for Doctor of Pharmacy Students,
                           Residents, and Fellows”
                           Principal Investigator         Henry I. Bussey
                           Co-Investigators               Lisa Farnett and Roger M. Lyons
                           Amount                         $20,800, Rhone Poulenc Rorer

   41. 1999 - 2000         “The American College of Clinical Pharmacy Training Program in Anticoagulation for
                           Doctor of Pharmacy Students, Post-doctoral Trainees, and Practicing Clinical
                           Pharmacists.
                           Principal Investigator      Henry I. Bussey
                           Co-Investigators            Lisa Farnett and Roger M. Lyons
                           Amount                      $41,247 American College of Clinical Pharmacy

   42. 2000 - 2001         “The American College of Clinical Pharmacy Training Program in Anticoagulation for
                           Doctor of Pharmacy Students, Post-doctoral Trainees, and Practicing Clinical
                           Pharmacists.
                           Principal Investigator      Henry I. Bussey
                           Co-Investigators            Lisa Farnett and Roger M. Lyons
                           Amount                      $32,081 American College of Clinical Pharmacy

   43. 2000                The SPORTIF V Trial (a randomized comparison of warfarin vs. a new oral thrombin
                           inhbitor in patients with atrial fibrillation).
                           Principal Investigator:            Roger M. Lyons, M.D.
                           Co-Investigators                   Henry I. Bussey, Pharm.D. and Lisa E. Farnett, Pharm. D.
                           Amount                             $70,000 (est.) over three years, AstraZeneca

   44. 2000                THRIVE Trial (a randomized comparison of enoxaparin plus warfarin (“standard
                           therapy” vs. a new oral thrombin inhbitor in the treatment of acute, symptomatic deep
                           vein thrombosis with and without pulmonary embolism).
                           Principal Investigator:       Roger M. Lyons, M.D.
                           Co-Investigators              Henry I. Bussey, Pharm.D. and Lisa E. Farnett, Pharm. D.
                           Amount                        $70,000 (est.) AstraZeneca

   45. 2001 - 2002         The American College of Clinical Pharmacy Training Program in Anticoagulation for
                           Doctor of Pharmacy Students, Post-doctoral Trainees, and Practicing Clinical
                           Pharmacists.
                           Principal Investigator      Henry I. Bussey
                           Co-Investigators            Lisa Farnett and Roger M. Lyons
                           Amount                      $41,247 American College of Clinical Pharmacy

   46. 2001 – 2003         An Anticoagulation Training Program for Clinicians within the U.S. Oncology Network
                           Principal Investigator        Roger M. Lyons, M.D.
                           Co-Investigators              Henry I. Bussey, Pharm.D. and Lisa E. Farnett, Pharm.D.
                           Amount                        $330,000 over 3 years, DuPont Pharma. (cancelled after
                                                         the first year when Bristol Myers Squibb bought out
                                                         DuPont Pharma.)




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   RESEARCH AND GRANTS (continued)

   Completed (continued)

   47. 2002 - 2003         The American College of Clinical Pharmacy Training Program in Anticoagulation for
                           Doctor of Pharmacy Students, Post-doctoral Trainees, and Practicing Clinical
                           Pharmacists.
                           Principal Investigator      Henry I. Bussey
                           Co-Investigators            Lisa Farnett and Roger M. Lyons
                           Amount                      $27,498 American College of Clinical Pharmacy

   48. 2003 - 2004         The American College of Clinical Pharmacy Training Program in Anticoagulation for
                           Doctor of Pharmacy Students, Post-doctoral Trainees, and Practicing Clinical
                           Pharmacists.
                           Principal Investigator      Henry I. Bussey
                           Co-Investigators            Lisa Farnett and Roger M. Lyons
                           Amount                      $36,664 American College of Clinical Pharmacy

   49. 2003                Prospective, open lable, single-arm, multicenter study of the safety of outpatient use of
                           enoxaparin in bridging therapy in patients on long-term oral anticoagulants who require
                           interruption of treatment
                           Principal Investigator         Lisa Farnette
                           C0-Investigators               Roger M. Lyons and Henry I. Bussey
                           Amount                         $30,000 (Aventis Pharmaceuticals)

   50. 2004 - 2005         The American College of Clinical Pharmacy Training Program in Anticoagulation for
                           Doctor of Pharmacy Students, Post-doctoral Trainees, and Practicing Clinical
                           Pharmacists.
                           Principal Investigator      Henry I. Bussey
                           Co-Investigators            Lisa Farnett and Roger M. Lyons
                           Amount                      $32,081 American College of Clinical Pharmacy

   51. 2005 - 2006         The American College of Clinical Pharmacy Training Program in Anticoagulation for
                           Doctor of Pharmacy Students, Post-doctoral Trainees, and Practicing Clinical
                           Pharmacists.
                           Principal Investigator      Henry I. Bussey
                           Co-Investigators            Roger M. Lyons
                           Amount                      $50,413 American College of Clinical Pharmacy

   51. 2006 - 2007         The American College of Clinical Pharmacy Training Program in Anticoagulation for
                           Doctor of Pharmacy Students, Post-doctoral Trainees, and Practicing Clinical
                           Pharmacists.
                           Principal Investigator      Henry I. Bussey
                           Co-Investigators            Roger M. Lyons
                           Amount                      $55,000 American College of Clinical Pharmacy

   51. 2007 - 2008         The American College of Clinical Pharmacy Training Program in Anticoagulation for
                           Doctor of Pharmacy Students, Post-doctoral Trainees, and Practicing Clinical
                           Pharmacists.
                           Principal Investigator      Henry I. Bussey
                           Co-Investigators            Roger M. Lyons
                           Amount                      $20,000 American College of Clinical Pharmacy

   52. 2006 - 2007         A Pilot Trial of Triple Intervention to Improve Anticoagulation Management: Low Dose
                           Vitamin K plus INR Self-Testing plus On-line Monitoring
                           Principal Investigator          Henry I. Bussey
                           Amount                          $126,000 Roche Diagnostics, Inc.




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   RESEARCH AND GRANTS (continued)

   Completed (continued)

   53. 2007 – 2008          Benazepril Plus Amlodipine or Hydrochlorothiazide for Hypertension in High-Risk
                            Patients.
                            Principal Investigator     Henry I. Bussey (for one site only)
                            Amount or Funding Source   Novartis Pharmaceuticals

   Proposed (not funded):

   1977                     "Randomized Comparison of Enteral and Parenteral Nutrition in Undernourished
                            Lung Cancer Patients"
                            Principal Investigator:    Unamarie Clibon
                            Co-Investigators:          HI Bussey, WA Knight, RB Livingston, RC Reed
                            Duration:                  One year
                            Status:                    Partially but insufficiently funded
   1979                     "Nutritional Assessment of Hospitalized Patients and an Assessment of Methods
                            for Projecting Nutritional Requirements"
                            Principal Investigator:        Henry I. Bussey
                            Co-Investigators:              Jim Haynes and Debbie Tapley
                            Duration:                      One month
                            Status:                        Not funded
   1982                     "American College of Clinical Pharmacy Fellowship in Adult Medicine"
                            Preceptor Applicant:          Henry I. Bussey
                            Fellowship Applicant:         Steven C. Ebert
                            Amount:                       $17,000
                            Status:                       Not funded
   1984                     "Establishing a Pharmacokinetics Laboratory in a Family Health Center"
                            Principal Investigator:       Henry I. Bussey
                            Amount:                       $100,000
                            Status:                       Not funded
   1985                     "Potassium-Sparing Diuretics in Diabetic Hypertensive Patients"
                            Principal Investigator:        Lewis Rose
                            Co-Investigators:              HI Bussey and David Katerndahl
                            Status:                       Not funded
   1985                     "An Evaluation of the Erythromycin-Warfarin Interaction"
                            Principal Investigator:       Henry I. Bussey
                            Co-Investigator:              Judy Saklad
   1985                     "Relative Efficacy and Metabolic Alterations of Clonidine, Nadolol, and
                            Hydrochlorothiazide in Diabetic, Hypertensive Mexican-Americans"
                            Principal Investigator:       Henry I. Bussey
                            Co-Investigator:              Richard Bauer
                            Status:                       Not funded
   1986                     "Relative Efficacy and Metabolic Alterations of Hydrochlorothiazide and
                            Metoprolol in Hypertensive Mexican-Americans"
                            Principal Investigators:      Henry I. Bussey and Richard Bauer
                            Co-Investigators:             William Linn and Cynthia Mulrowe
                            Amount:                       $250,000
                            Status:                       Not funded

   1988                     "Randomized Placebo-controlled Trial of Clonidine and Guanfacine in Smoking




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   RESEARCH AND GRANTS (continued)

   Proposed (not funded):

                            Cessation"
                            Principal Investigators:      N. Kathryn Lowder and Henry I. Bussey
                            Co-Investigators:             Theresa Bianco and Richard Bauer
                            Status                        Submitted to A.H. Robins, not funded

   1989                     "Establishment of a Clinical Pharmacy Research Unit"
                            Principal Investigator:        H.I. Bussey
                            Co-Investigator:               T.M.Bianco
                            Status:                        Submitted to P.M.A., but not funded.

   1999                     “Opportunities for Stroke Prevention” (a public education television program from the
                            University of Texas and Kaleidoscope Television
                            Principal Investigator        Henry I. Bussey
                            Co-Investigators              Dr. William Nichols
                                                          President and CEO, Kaleidoscope TV
                            Amount                        $500,000
                            Status                        Presented to DuPont Pharma, but not funded

   2006 – 2007              A Pilot Study to Assess if Self-Testing and Online Management Improve State-of-the-Art
                            Anticoagulation Clinic Management.
                            Principal Investigator          Henry I. Bussey
                            Co-Investigators                Roger M. Lyons
                            Amount                          $108,000 in equipment, supplies, and patient co-pays.
                                                            From International Technidyne Inc. (ITC), and Quality
                                                            Assured Services (QAS)



   SERVICE ACTIVITIES

   Professional Organizations
   (See "Professional Memberships","Honors and Appointments” and "Presentations")

   American College of Clinical Pharmacy
   1983          Program Chairman, Southwest Regional Continuing Education Conference, San Antonio, Texas,
                 April 15, 1983.
   1985 - 1986   Member of Educational Affairs Committee.
   1986 - 2006   Abstract Reviewer for the Annual Meeting Program.
   1986          Session Moderator for the Annual Meeting.
   1986 - 1987   Chairman, Educational Affairs Committee, 1986-87.
   1986 - 1987   Member, American Association of Colleges of Pharmacy - American College of
                 Clinical Pharmacy Liaison Committee, 1986-87.
   1987          Elected Fellow, 1987.

   1987 - 1988   Member of Professional and Public Relations Committee.

   1987          Session Moderator for the Annual Meeting.

   1987          Nominated as a candidate for Board of Regents.




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   SERVICE ACTIVITIES (continued)

   Professional Organizations (continued)
   (See "Professional Memberships","Honors and Appointments” and "Presentations")

   American College of Clinical Pharmacy (continued):

   1988 - 1989    Ad Hoc Reviewer for Fellow Applicant.

   1989 - 1990    Member, Awards Committee.

   1989 - 1991    Reviewer of Applications for ACCP-Genentech Research Fellowship in Cardiovascular
                  Therapeutics.

   1989           Program Chairman and Moderator for Pre-Meeting Symposium on Guidelines for Use of
                  Antithrombotic and Thrombolytic Therapy, Annual Meeting.

   1989 – 2006   Abstract Reviewer for the Annual Practice and Research Forum.

   1993           Member, Program Committee for the Annual Meeting

   1993           Program Chairman and Moderator for pre-meeting symposium on Low Molecular Weight Heparins
                  and Heparinoids, Annual Practice and Research Forum.

   1993           Session organizer and moderator for New Guidelines in Antithrombotic Therapy, Hypertension, and
                  Hyperlipidemia, Annual Meeting, Reno, Nevada.

   1993 - 1994    Member, Industrial Relations Committee of the American College of Clinical Pharmacy.

   1994 - 1995    Chair, Cardiology PRN, 1994-95

   1994           Clinical Practice Award, August, 1994.

   1995           Reviewer for Research Awards and Fellowships - Cardiovascular.

   1995 - 1998    Elected to the Board of Regents.

   1999           Appointed to the Pharmacotherapy Quality Improvement Task Force.

   2006           Selected as ACCP Representative to the Surgeon General’s Workshop on Deep Vein Thrombosis

   American Pharmacy Association

   1999           Appointed to the Strategic and Tactical Analysis Team (STAT) on Payment and Empowerment.

   2006           Pinnacle Award recipient, Individual category
   American Society for Parenteral and Enteral Nutrition
           Invited Speaker for the Annual Clinical Congress 1980, 1982
   American Association of Colleges of Pharmacy
           Nominated to the Review Panel for the 1987-88 Grant Program for Young Investigators.
           Appointed to the Section of Teachers of Pharmacy Practice Task Force on Faculty Models in
           Pharmacy Practice.
   North American Primary Care Research Group
           Abstract Reviewer for the Annual Scientific Program, 1985 - 1990.


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   SERVICE ACTIVITIES (continued)

   Professional Organizations (continued)
   (See "Professional Memberships","Honors and Appointments” and "Presentations")


   Texas Society of Hospital Pharmacists: Board of Directors, 1984-86; Annual Seminar Committee, 1988
   Central Texas Society of Hospital Pharmacists: President-Elect, 1984; President, 1985; Past-President, 1986
   The Anticoagulation Forum: Steering Committee Member (1994 - 2003); Annual Meeting Committee 1995

   Clinical Services Initiated
   1979     Drug Therapy Educational Consultation Service for Patients being Discharged, Richland Memorial
            Hospital, Columbia, South Carolina.
   1980     Drug Therapy Information Service for Health-care Personnel, Richland Memorial Hospital,
            Columbia, South Carolina.
   1981     Pharmacokinetic and Therapeutic Consultation Service, Richland Memorial Hospital, Columbia,
            South Carolina.
   1984     Anticoagulation Clinic, Brady-Green Community Health Center, San Antonio, Texas.

   1984     Clinical Pharmacy Consultation Service, Department of Family Practice, Brady-Green Community
            Health Center, San Antonio, Texas.
   1989     Pharmacotherapy Consultants Clinic, Brady-Green Community Health Center, San Antonio,
            Texas.

   1994     Clinical Director, Anticoagulation Clinics of North America, San Antonio, Texas.

   2000     Co-founder, ClotCare Online Resource

   2004     Genesis Clinical Research Center

   University
   University of South Carolina 1978 - 1982: A listing of service activities to this institution is available upon
   request.

   The University of Texas at Austin and The University of Texas Health Science Center at San Antonio, (1982 - )
       Specialty Residencies Selection Committee, Clinical Pharmacy Programs, College of Pharmacy, The University
       of Texas at Austin; and Department of Pharmacology, The University of Texas Health Science Center at San
       Antonio (1982-1983).

       Continuing Education Committee, College of Pharmacy, The University of Texas at Austin (1982-1983, 1983-
       1984, and 1984-1985).

       Ad Hoc Committee on Pharmacy student Recognition (1982).

       Chairman, Program Committee for the jointly sponsored ACCP Southwest Regional Continuing Education
       Conference, San Antonio, Texas, April 15, 1983.
       Ad Hoc Committee on Specialty Residency Accreditation for Medicine (1983)

       B.S. Graduate Awards Committee (1983)
       Committee to Assess Biomedical Sciences/Clinical Literature Needs for Austin Campus (1983)
       Chairman, Subcommittee to Evaluate Assessment Methods and Criteria for the Experiential
       Component (1984)


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   SERVICE ACTIVITIES (continued)

   Professional Organizations (continued)
   (See "Professional Memberships","Honors and Appointments” and "Presentations")

   University (continued)
       Alternate, Pharm.D. Admissions Committee (1984-85, 1985-86)
       Post-doctoral Training Committee (1984-85, 1985-86, 1986-87)
       Committee C: Clinical Component Content Development Restructuring Project for undergraduate
       pharmacy students (1985)
       Ad-Hoc Curriculum Review Committee (1985)
       Research Committee, Department of Family Practice (1985-86)

   University Service while at the University of Texas at Austin and the University of Texas Health Science Center at
   San Antonio (1982 – 2011) (continued)
       Educational Committee, Department of Family Practice (1985-86)
       Honors and Awards Committee, College of Pharmacy (1986-92)
       Accreditation Review Committee on Resources (Support Services) (1988-89)
       Appointed to a three-year term on the Institutional Review Board for Human Research, The University
       of Texas Health Science Center 1988-1991.
       Faculty Devlopment Committee, College of Pharmacy, U.T. Austin 1992 - 1996
       Faculty Advisor to the Pharm.D. Retreat Committee 1988
       Task Force on Pharm.D. Pharmacotherapy Course Content, U.T. Austin 1994.
       Doctor of Pharmacy Admissions Committee, U.T. Austin 1996 - 1997
       Committee on Committees, College of Pharmacy, U.T. Austin 1998 - 2006
       Doctor of Pharmacy Admissions Committee, College of Pharmacy, U.T. Austin, 1999
       Chair, Post-Pharm.D. Residency and Fellowship Training. 2000 – 2004
       Executive Committee Member 2004 – present
       Post-Tenure Review Subcommittee of the Executive Committee
       Supervisory responsibilities for Doctor of Pharmacy Students, Residents and Fellows as follows:
           Supervising Professor for Post-doctoral Fellows:
                    N. Kathryn Lowder, Pharm.D. (1986-1988) 2 year Fellowship
                    Theresa Bianco, Pharm.D. (1988-1990) 2 year Fellowship
                    Elaine Chiquette, Pharm.D. (1994-1996) 2 year Fellowship
           Acting Major Professor for Third-year Doctor of Pharmacy Resident:
                    Jane Kruse (1982)                         Scott Glossner (1991-92)

           Major Professor for Second-year Doctor of Pharmacy Students:
                    Elena Catarau (1983)                      Stuart Haines (1992-93)
                    Tom Hall (1984)                           Todd Canada (1992-93)
                    Ruthanne Ramsey (1984)                    Marilyn Kamp (1993-94)
                    Michelle Eimer (1985)                     Sharon Tramonte (1993-94)
                    Mary Frances Ross (1985-86)               Paul C. Cockrum (1994-95)
                    Toni Host (1985-86)                       Dawn E. McNichol (1994-95)
                    Amy McCormick (1985-86)                   Anna M. Whitling (1994-95)


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   SERVICE ACTIVITIES (continued)

   Professional Organizations (continued)
   (See "Professional Memberships","Honors and Appointments” and "Presentations")

   University (continued)


                    Mary Gaul (1986-87)                       Kimberly Braden Moore (1995-96)
                    Julie Krukemyer (1986-87)                 Yavonne Evans (1996-97)
                    John St. Peter (1987-88)                  Laurencio Cortinas (1997-98)
                    Martha Gardner (1989-90)

   Supervisory responsibilities for Doctor of Pharmacy Students, Residents and Fellows as follows

   Susan Reeves (1982-83)         John St. Peter (1986-87)        Carla Van Den Berg (1989-90)      Marilyn Kamp (1992-93)
   Roberta Carrier (1982-83)      Jeff Campion (1986-87)          William Benefield (1989-90)       Curtis Triplitt (1993-94)
   Claudia Kamper (1982-83)       William Buss (1987-88)          Stuart Haines (1991-92)           Anna Whitling (1993-94)
   Evans Cooke (1984-85)          Angela Allerman (1988-89)       Kendra Perry (1991-92)
   John Windheuser (1984-85)      Linda Shahraini (1988-89)       Najla Bugazia (1992-93)

   University Service while at the University of Texas at Austin and the University of Texas Health Science Center at
   San Antonio (1982 – 2011) (continued)
       Supervisory Committee Member for Third-year Doctor of Pharmacy Students:
                    Paul Godley (1983-84)                     Bruce Mueller (1987-88)
                    Bruce Wachsman (1985-86)                  Stuart Haines (1993-94)
       Supervisory Committee Member for Second-year Doctor of Pharmacy Students
                    Gerald Merritt (1983-84)                  Susan Reeves (1984-85)        Jean Visser (1987-88)
                    John A. Lazor (1983-84)                   Barbara Insley (1984-85)      Michelle Baird (1987-88)
                    Jacqueline Barber (1983-84)               Judy Saklad (1984-85)         Claude Taylor (1991-92)
                    David Rutledge (1983-84)                  Andrea Fus (1986-87)          Kendra Perry (1992-93)
                    Richard Manny (1984-85)




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                                APPENDIX C




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                          Hourly Fee Schedule for Legal Consulting
                               Henry I. Bussey, Pharm.D., FCCP
                                            October, 2016
      1. A retainer of $4,000 will be provided with the materials that are submitted to Dr. Bussey
         for review. One-half of the retainer ($2,000) is non-refundable (unless Dr. Bussey is
         unable to provide his services) and will not be used to cover any of the billable services
         outlined below. Once the case is closed and/or Dr. Bussey’s participation is finished, any
         outstanding charges will be deducted from the other one-half of the retainer and the
         remaining balance of that portion of the retainer, if any, will be refunded.

      2. Level 1 charges, billed at $400 per hour (including travel time), include all services
         EXCEPT activities related to providing a deposition, participating in an arbitration, or
         testifying in court. Services covered include reviewing case files, literature searches,
         preparing reports, time spent in routine conference, etc. Level 1 charges will not exceed
         $4,000 per day (presuming that more than 10 hours is spent in a single day).

      3. Level 2 charges: Billed at $600 per hour with a minimum charge of $3,000 per day,
         include charges for providing a deposition, participating in an arbitration, testifying in
         court, and any preparatory conferences related to these activities.

      4. Travel and miscellaneous expenses: In addition to level 1 time charges for travel, air fare
         (coach class), mileage, meals, lodgings, postage or shipping charges, telephone charges,
         and other customary expenses will be submitted for reimbursement.




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                                APPENDIX D




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                 Record of Deposition and Court Testimony Over the Last Four Years
                                   Henry I. Bussey, Pharm.D., FCCP
                                              October, 2016


   After reviewing my files, I find no instances in which I provided a deposition, testified in court,
   or participated in an arbitration hearing.




                                                                                                   USCA5 2655
